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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

                                       ) Case No.: 1:18-cv-02268-AT-SN
SET CAPITAL LLC, et al., Individually and on
                                       )
Behalf of All Others Similarly Situated,
                                       )
                     Plaintiffs,       )
                                       )
            v.                         )
                                       )
CREDIT SUISSE GROUP AG, CREDIT SUISSE )
AG, CREDIT SUISSE INTERNATIONAL, )
TIDJANE THIAM, DAVID R. MATHERS, )
JANUS HENDERSON GROUP PLC, JANUS )
INDEX & CALCULATION SERVICES LLC, )
and JANUS DISTRIBUTORS LLC d/b/a JANUS )
HENDERSON DISTRIBUTORS,                )
                                       )
                      Defendants.      )

                   CONSOLIDATED CLASS ACTION COMPLAINT
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                                   DEFINITION OF TERMS


CBOE – Chicago Board Options Exchange, which created the VIX and VIX futures.

Calculation Agents – two entities, Credit Suisse International (“CSI”) and Janus Index &
Calculation Services LLC (“JIC”), that, among other things, provided calculation-related services
with respect to XIV.

Closing Indicative Value – generally, the value of XIV calculated at the end of each trading day.

ETN – Exchange Traded Note, an unsecured debt instrument traded on a major exchange that
functions similarly to a promissory note. ETNs are one type of Exchange Traded Product (“ETP”).

ETP – exchange traded product, of which ETNs are one type.

Futures contract – a contract representing a promise to buy or sell a particular commodity or
financial instrument at a predetermined price at some future date.

Intraday Indicative Value – as defined by Credit Suisse in its January Supplement,1 this value
was “designed to approximate the economic value of [XIV] at a given time[,]” and was “calculated
every 15 seconds . . . .” The Calculation Agents provided the Intraday Indicative Value to
NASDAQ for distribution to the market under the ticker XIVIV.

Offering Documents - the Offering Documents are Credit Suisse’s (i) January 29, 2018 pricing
supplement (No. VLS ETN-1/A48) (the “January Supplement”) filed with the SEC pursuant to
Rule 424(b)(2) and in conjunction with (ii) Registration Statement No. 333-218604-02, (iii)
prospectus supplement dated June 30, 2017, and (iv) prospectus dated June 30, 2017.

SPX – the Standard & Poor’s 500 Index (“S&P 500”), a stock index based on the 500 largest
companies whose stock is listed for trading on the New York Stock Exchange (“NYSE”) or
National Association of Securities Dealers Automated Quotations Exchange (“NASDAQ”).

SPVXSP – the ticker for the S&P 500 VIX Short-Term Futures Index, which tracks a portfolio of
first- and second-month VIX futures contracts with a weighted-average time to maturity of 30
days.

VIX or VIX Index – referred to as Wall Street’s “fear index” or “fear gauge,” the VIX or VIX
Index measures market volatility by providing a value intended to reflect how much the market
thinks the S&P 500 Index will fluctuate in the 30 days from the time of each tick of the VIX Index.

VIX futures – futures contracts that allow investors to trade and/or hedge an investment position
based on their assessment of future market volatility.




1
    January 29, 2018 pricing supplement (No. VLS ETN-1/A48).


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XIV – The common name and trading ticker for VelocityShares Inverse VIX Short Term ETNs,
issued by Credit Suisse, sold by Janus, and traded on the NASDAQ.

XIVIV – the ticker by which XIV’s Intraday Indicative Value was transmitted.




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       Lead Plaintiffs Set Capital LLC, Stefan Jager, Nikolay Drozhzhinov, Aleksandr Gamburg,

and ACM Ltd. (collectively, “Lead Plaintiffs”), through their undersigned attorneys, bring this

action on behalf of themselves and all similarly situated purchasers of VelocityShares Inverse VIX

Short Term ETNs, commonly known as and traded under the name XIV (“XIV”), between January

29, 2018 and February 5, 2018, inclusive (the “Class Period”), against Credit Suisse Group AG

and Credit Suisse AG (together, “Credit Suisse” or the “Bank”);2 Credit Suisse’s Chief Executive

Officer (“CEO”) Tidjane Thiam (“Thiam”); its Chief Financial Officer (“CFO”) David R. Mathers

(“Mathers,” and, together with Thiam, the “Individual Defendants”) (collectively, Credit Suisse

Group AG, Credit Suisse AG, Thiam, and Mathers are the Credit Suisse Defendants); Janus

Henderson Group plc (“Janus”); Janus Index & Calculation Services LLC (“JIC”); and Janus

Distributors LLC d/b/a Janus Henderson Distributors (“JHD”) (collectively, Janus, JIC, and JHD

are the “Janus Defendants”) (together, the Janus Defendants and the Credit Suisse Defendants are

the “Defendants”).

       Lead Plaintiffs allege the following based on their personal knowledge, on information and

belief, and on the investigation by Lead Plaintiffs’ counsel, which included a review of relevant

U.S. Securities and Exchange Commission (“SEC”) filings by Credit Suisse, records of judicial

proceedings in the United States District Court for the Southern District of New York, regulatory

filings and reports, press releases, public statements, news articles, other publications, securities

analysts’ reports and advisories about Credit Suisse and XIV, other readily obtainable information,

and consultations with experts. Lead Plaintiffs believe substantial, additional evidentiary support

will exist for the allegations set forth herein after a reasonable opportunity for discovery.




2
 As explained below, because Credit Suisse Group AG and Credit Suisse AG are, as a practical
matter, synonymous, both entities are referred to herein as “Credit Suisse” or the “Bank.”

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I.          NATURE AND SUMMARY OF THE ACTION

            1.      On February 5, 2018, XIV lost 96% of its value, or approximately $1.8 billion, in

     a single day, devastating investors. Both prior to and during the Class Period, and unbeknownst

     to investors, the Credit Suisse Defendants engaged in a scheme to sell millions of XIV notes to

     investors for hundreds of millions of dollars while actively betting against XIV, knowing it was

     designed to fail. As the Credit Suisse Defendants’ scheme began to pay off, and XIV’s value

     nosedived on February 5, 2018, Defendants compounded the harm to investors by issuing

     materially false and misleading pricing information regarding XIV that led investors to buy even

     more XIV notes at drastically inflated values. As a result of Defendants’ scheme, they reaped

     hundreds of millions in profits at the expense of their own investors, who were left holding

     virtually worthless securities.

            2.      XIV is an Exchange Traded Note (“ETN”) issued and sold by Credit Suisse, and

     placed and marketed by Janus. XIV was created in 2010 to track the inverse of VIX futures

     contracts. In other words, when VIX futures contracts decreased in value by 1%, XIV increased

     in value by 1%, and vice versa. VIX futures generally measure expected volatility—how much a

     security price is anticipated to change over a given period of time—in the broader market. Because

     the market, and thus VIX futures, experienced a years-long extended period of declining volatility,

     punctuated only briefly by spikes in volatility, XIV investors generally received extraordinary

     returns for years, making XIV one of the most popular volatility ETNs on the market.

            3.      However, as discussed in detail below, during at least three brief occasions during

     the life of XIV, market volatility spiked significantly. During these brief volatility spikes, VIX

     futures prices spiked at the end of the trading day in a manner disproportionate to what would

     normally be expected. These large price movements were caused by Credit Suisse and other




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volatility-related ETN issuers placing hedging trades to protect their balance sheets, i.e. buying

VIX futures to offset the risk posed by the volatility ETNs they issued. Credit Suisse, for instance,

engaged in such hedging to protect itself in the event an XIV investor sought to redeem his or her

XIV notes, since Credit Suisse was obligated to pay the investor the value of the notes. Credit

Suisse did so by holding short positions in VIX futures, so that when VIX futures prices dropped,

Credit Suisse made money from the short positions, which in turn offset the resulting higher XIV

prices, and thus higher redemption values, that Credit Suisse was required to pay XIV investors

who wanted to redeem their notes.

          4.   Due to the growth of the volatility ETN market, and particularly due to the massive

growth in the value and number of XIV notes issued, the Credit Suisse Defendants knew or

recklessly disregarded that there was not sufficient liquidity—that is, not enough VIX futures—to

allow volatility-related product issuers like Credit Suisse to hedge their positions during volatility

spikes.

          5.   Credit Suisse had risk reporting mechanisms and protocols in place to ensure senior

executives actively monitored and managed the risks XIV posed to Credit Suisse. Under these

protocols, the liquidity issues in the VIX futures market were reported to Defendant Thiam and

Defendant Mathers. Recognizing the threat this lack of liquidity posed to Credit Suisse, Credit

Suisse announced on July 1, 2016 that it now had the unilateral right to demand purchasers of XIV

notes sell Credit Suisse various hedging instruments, such as products known as “swaps,” to help

Credit Suisse protect its own balance sheet.

          6.   Despite actively moving to protect Credit Suisse from this liquidity threat, the

Credit Suisse Defendants did nothing to protect XIV’s investors or disclose the liquidity threat to

their investments. Rather, Credit Suisse saw an opportunity to use the lack of liquidity to profit at




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its investors’ expense. The Credit Suisse Defendants knew or recklessly disregarded that many

investors were holding XIV notes for extended periods. They also knew or recklessly disregarded,

due to Credit Suisse’s risk protocols and modeling, that another volatility spike similar to the three

Credit Suisse had experienced in recent years was inevitable. Further, based on their experience

with these previous volatility spikes, the Credit Suisse Defendants knew that when the inevitable

next volatility spike occurred, Credit Suisse could easily amplify the spike in VIX futures prices,

and because XIV prices are inversely related to VIX futures prices, the Credit Suisse Defendants

could cause XIV to be driven into the ground. Indeed, as described in detail below, Credit Suisse

reserved itself the right to announce an “Acceleration Event” should XIV’s price decline by 80%

or more, giving it the ability to pay XIV investors pennies on the dollar in a forced redemption of

their notes.

        7.     Nevertheless, the Credit Suisse Defendants continued to grow the size of XIV,

issuing and selling millions more XIV notes to unsuspecting investors, exacerbating the inevitable

liquidity issues in the VIX futures market when the next volatility spike came. During the Class

Period, investors paid Credit Suisse prices as high as $135 per XIV note. Unbeknownst to

investors, however, the Credit Suisse Defendants were betting that, once volatility returned, as it

was statistically certain to do, they could drive a liquidity squeeze in the VIX futures market that

would cause the price of those futures to spike, triggering an Acceleration Event and allowing

Credit Suisse to profit at XIV investors’ expense. As one analyst later put it, Credit Suisse induced

XIV investors to effectively “collect[] pennies in front of a steamroller.”

        8.     On February 5, 2018—just days after it offered an additional 16.275 million XIV

notes—Credit Suisse’s undisclosed bet paid off. On that day, volatility returned, driving up the

price of VIX futures with it. After the close of regular market trading at 4:00 p.m., Credit Suisse




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began to buy up approximately 105,000 VIX futures contracts—roughly one quarter of the entire

VIX futures market—driving up the price of VIX futures and intentionally destroying the value of

XIV.

       9.      By 4:09 p.m., Credit Suisse knew its large purchases of VIX futures contracts had

driven XIV’s value to approximately $20, which was more than an 80% drop in value from the

previous day’s closing value, and thus that an Acceleration Event had occurred. But the Credit

Suisse Defendants, instead of announcing an Acceleration Event, halting trading, or otherwise

protecting investors, continued to drive a liquidity squeeze in the VIX futures market. By 4:15

p.m., Credit Suisse knew, based on the prices of the VIX futures contracts it was buying, that 96%

of XIV’s value had been wiped out.

       10.     But this was only part one of the two-part fraud perpetrated on XIV investors.

Beginning at approximately 4:09 p.m. that same day, Credit Suisse and Janus stopped updating

XIV’s “Intraday Indicative Value,” a value Defendants misleadingly told investors approximated

the actual value of XIV and would be updated every 15 seconds based on real-time prices of VIX

futures contracts.

       11.     Between about 4:09 p.m. and 5:09 p.m., Defendants falsely represented to investors

that XIV’s Intraday Indicative Value was between about $24 and $27 per note, thus concealing

that XIV had suffered an Acceleration Event, and thereby leading investors to purchase

approximately $700 million more in XIV notes at artificially inflated prices. Had the Intraday

Indicative Value been properly and accurately disseminated as promised, investors would have

known that XIV was, in fact, worth between $4.22 and $4.40 per note, and thus that it had

experienced a catastrophic Acceleration Event that would lead to the forced redemption of all XIV

notes for pennies on the dollar.




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        12.      This failure to update XIV’s Intraday Indicative Value allowed Credit Suisse to

continue to profit at its investors’ expense.

        13.      It was not until 5:09:05 p.m. that Credit Suisse and Janus finally updated the

Intraday Indicative Value to $4.2217 per note, approximately 1/6th the artificially inflated value

they disseminated during the previous hour.

        14.      The next day, Credit Suisse announced that it was redeeming all XIV notes, citing

as its reason that an Acceleration Event occurred as a result of the greater than 80% drop in XIV’s

Intraday Indicative Value the previous day. On February 21, 2018, XIV was terminated and all

notes were redeemed at $5.99 per note.

        15.      Tellingly, Credit Suisse also announced that, unlike XIV investors, it had not

suffered any losses on February 5, 2018, admitting it protected itself through its hedging activities.

Although not disclosed at the time, Credit Suisse not only protected itself through its hedging

activities, but also profited handsomely, making hundreds of millions of dollars at the expense of

its investors.

        16.      Indeed, on April 25, 2018, Credit Suisse reported that it had made approximately

$490 million in its equity sales and trading division for the fiscal quarter ended March 31, 2018, a

30% increase compared the previous quarter, stating that the impressive figures were “due to more

favorable trading conditions, particularly higher levels of volatility which benefited our

derivatives business.”3 (Emphasis added).

        17.      The events of February 5, 2018 shocked the market, with reporters and investors

questioning Credit Suisse as to how XIV could have collapsed so quickly and dramatically, causing




3
 https://www.sec.gov/Archives/edgar/data/1053092/000137036818000025/a180425q1-
ex99_1.htm

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investors to lose billions of dollars. Further, the SEC began to investigate Credit Suisse and its

role in XIV’s collapse. In response, the Credit Suisse Defendants actively attempted to conceal

the fraud by issuing a series of incoherent explanations, many of which were patently false. For

example, on February 14, 2018, Defendant Thiam was interviewed by Bloomberg and made clear

that he was actively involved in and aware of the scheme to defraud investors and XIV’s crash,

stating that the Acceleration Event “was actually to protect investors. Because the product stopped

trading, it was quasi-impossible to price, and we needed to give certainty to the market at the

market open. So before the morning—and this—we went through a long process, we don’t make

these decisions lightly, there are people involved from every aspect of the business, from

compliance to the front office—and they collectively—I don’t make those types of decisions—

they collectively reached a decision which was in the interest of investors, which was to close it.

But there are quite a few products like that in the market, because they serve a useful purpose.

They allow market participants to manage their risk better.” 4 (Emphasis added).

       18.     Given that investors lost approximately $1.8 billion in value, it strains credulity to

claim that the Acceleration Event, which locked in the redemption value of XIV notes Credit

Suisse was required to pay at pennies on the dollar, protected investors.

       19.     Notably, had Credit Suisse not forcibly redeemed XIV notes “to protect investors,”

XIV’s value would have stabilized rapidly. By March 6, 2018, as volatility levels stabilized and

returned to normal, XIV would have been worth approximately $30.88. Instead, Credit Suisse

forcibly redeemed all XIV notes at $5.99 per note, locking in its extraordinary profits.




4
  https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword

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 II.           JURISDICTION AND VENUE

               20.     This Court has jurisdiction over the subject matter of this action under 28 U.S.C.

       § 1331, § 27 of the Exchange Act, and § 22 of the Securities Act. The claims asserted herein arise

       under §§ 9(a), 9(f), 10(b), and 20(a) of the Exchange Act (15 U.S.C. §§ 78i(a), 78i(f), 78j(b), and

       78t(a)), Rule 10b-5(a)-(c) promulgated thereunder (17 C.F.R. §§ 240.10b-5(a)-(c)), and under

       §§ 11 and 15 of the Securities Act (15 U.S.C. §§ 77k, 77o).

               21.     Venue is proper in this District pursuant to Section 27 of the Exchange Act, Section

       22 of the Securities Act, and 28 U.S.C. §1391(b) and (c) because one or more Defendants may be

       found or reside here or had agents in this district, transacted or is licensed to transact business in

       this district, and because a substantial portion of the affected trade and commerce described below

       has been carried out in this district.

               22.     In connection with the acts and conduct alleged in this Consolidated Class Action

       Complaint (“Consolidated Complaint”), Defendants, directly or indirectly, used the means and

       instrumentalities of interstate commerce, including, but not limited to, the mail, interstate

       telephone communications, and the facilities of the national securities markets.

III.           PARTIES

               A.      Lead Plaintiffs

               23.     Lead Plaintiff Set Capital LLC purchased XIV notes during the Class Period and

       suffered damages as a result of the violations of the federal securities laws alleged herein. On June

       21, 2018, the Court appointed Set Capital LLC as a Lead Plaintiff for the Class. ECF No. 22.

               24.     Lead Plaintiff Stefan Jager is an individual investor who purchased XIV notes

       during the Class Period and suffered damages as a result of the violations of the federal securities

       laws alleged herein. On June 21, 2018, the Court appointed Mr. Jager as a Lead Plaintiff for the

       Class. ECF No. 22.


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       25.     Lead Plaintiff Nikolay Drozhzhinov is an individual investor who purchased XIV

notes during the Class Period and suffered damages as a result of the violations of the federal

securities laws alleged herein. On June 21, 2018, the Court appointed Mr. Drozhzhinov as a Lead

Plaintiff for the Class. ECF No. 22.

       26.     Lead Plaintiff Aleksandr Gamburg is an individual investor who purchased XIV

notes during the Class Period and suffered damages as a result of the violations of the federal

securities laws alleged herein. On June 21, 2018, the Court appointed Mr. Gamburg as a Lead

Plaintiff for the Class. ECF No. 22.

       27.     Lead Plaintiff ACM Ltd. purchased XIV notes during the Class Period and suffered

damages as a result of the violations of the federal securities laws alleged herein. On June 21,

2018, the Court appointed ACM Ltd. as a Lead Plaintiff for the Class. ECF No. 22.

       B.      Credit Suisse Defendants

       28.     Defendant Credit Suisse Group AG is a Swiss multinational financial service

holding company with its headquarters in Zurich, Switzerland and its United States operations

located at 11 Madison Avenue, New York, NY 10010.

       29.     Defendant Credit Suisse AG is the direct bank subsidiary of Credit Suisse Group

AG and is domiciled in Zurich, Switzerland. Credit Suisse AG issued XIV notes. Pursuant to the

Form 20-F filed by Credit Suisse Group AG with the SEC on March 28, 2018 (“2017 Form 20-F),

as of December 31, 2017, Credit Suisse Group AG held a 100% equity interest in Credit Suisse

AG. Credit Suisse AG accounts for over 3.997 CHF billion of Credit Suisse Group AG’s nominal

capital. According to Credit Suisse’s website, the composition of the Executive Board of Credit

Suisse and Credit Suisse AG is identical, with the exception of one individual not named in this

Consolidated Complaint. Because Credit Suisse Group AG and Credit Suisse AG are, as a

practical matter, synonymous, both entities are referred to herein as “Credit Suisse” or the “Bank.”


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       30.     Credit Suisse International (“CSI”) is a subsidiary of Credit Suisse AG that is

domiciled in London, United Kingdom, and is an unlimited company incorporated in England and

Wales. As of December 31, 2017, Credit Suisse AG and Credit Suisse Group AG hold 98% and

2% of the voting rights and a 98% and 2% of the equity interest in CSI, respectively. In the 2017

Form 20-F, Credit Suisse Group AG describes CSI as a “major” subsidiary, as CSI, in combination

with three other subsidiaries, “account for a significant portion of [Credit Suisse]’s business

operations.” As of December 31, 2017, CSI accounted for 12.366 USD billion of Credit Suisse

Group AG’s nominal capital. Credit Suisse Group AG’s Chief Financial Officer, David R.

Mathers, serves as CSI’s Chief Executive Officer.

       31.     One of the Credit Suisse Group AG board of directors’ committees is its Risk

Committee. As described in its Form 20-F filed with the SEC on March 23, 2018 (2017 Form 20-

F), the “Risk Committee is responsible for assisting the Board in fulfilling its oversight

responsibilities by providing guidance regarding risk governance and the development of our risk

profile and capital adequacy, including the regular review of major risk exposures and overall risk

limits.” Credit Suisse Group AG’s board members may serve as members of the Risk Committee

or on the boards of Credit Suisse Group AG’s subsidiaries. During the Class Period, two members

of CSI’s board of directors served as members of Credit Suisse Group AG’s board of directors and

its Risk Committee, including as the Chairman of the Risk Committee.

       32.     Defendant Tidjane Thiam has served as the CEO of Credit Suisse since July 1,

2015, and as a member of the Executive Board at Credit Suisse since 2015. As part of his duties

as CEO, Defendant Thiam was a member of the Capital Allocation and Risk Management

Committee (“CARMC”).




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       33.     Defendant David R. Mathers has served as the CFO of Credit Suisse and a member

of the Executive Board since October 2010. Mathers also serves as CEO of CSI. As part of his

duties as CFO, Defendant Mathers was a member of the CARMC and the chair of the Valuation

Risk Management Committee (“VARMC”). Prior to his appointment as CFO, Mathers was the

Head of Finance and the COO for Investment Banking in New York and London from 2007 to

2010. In this role, he was responsible for Investment Banking Finance, Operations, Expense

Management and Strategy. Mathers joined Credit Suisse in 1998, working in a number of senior

positions in Credit Suisse’s Equity business, including the Director of European Research and the

Co-Head of European Equities.

       34.     Defendants Thiam and Mathers together are referred to herein as the “Individual

Defendants.” The Individual Defendants, in part because of their positions with the Bank,

possessed the power and authority to control the contents of Credit Suisse’s reports to the SEC, as

well as its press releases and presentations to securities analysts, money and portfolio managers

and investors, i.e., the market. Each Individual Defendant made or controlled the public statements

alleged herein to be false or misleading, and had the ability and opportunity to prevent those

statements from being disseminated to the market or cause them to be corrected during their tenure

with the Bank. Because of their positions and access to material non-public information available

to them, each of these Defendants knew that the adverse facts specified herein had not been

disclosed to, and were being concealed from, the investing public, and that the positive

representations which were being made were then materially false and/or misleading.

       35.     Credit Suisse, CSI, Thiam, and Mathers are collectively the “Credit Suisse

Defendants.”




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       C.      Janus Defendants

       36.     Defendant Janus Henderson Group plc is an asset management holding entity based

in London, United Kingdom. VelocityShares LLC was the original creator of XIV. On December

1, 2014, Janus Capital Group Inc. acquired VS Holdings Inc., the parent company of Velocity

Shares LLC, a Darien, Connecticut-based asset manager. On July 21, 2015, VelocityShares LLC,

and its division, Velocity Index & Calculation Services, were renamed as Janus Index &

Calculation Services LLC (“JIC”). Thereafter, on May 30, 2017, Janus Capital Group Inc. and the

Henderson Group completed their merger of equals to become the Janus Henderson Group plc

(“Janus”). Also, on May 30, 2017, Janus completed the acquisitions of these relevant controlled

entities: VS Holdings Inc., JIC, and Janus Distributors LLC. In 2017, Janus Distributors LLC

began doing business as Janus Henderson Distributors (“JHD”).

       37.     Defendant Janus Index & Calculation Services LLC (“JIC”) is Delaware limited

liability company. On May 30, 2017, Janus Henderson Group plc completed its acquisition of its

controlled entity, JIC. According to Janus Henderson Group plc’s Exhibit 21.1 to its Form 10-K

filed with the SEC on February 27, 2018, JIC is 100% owned by Janus Henderson Group plc.

Prior to July 21, 2015, JIC was known as Velocity Index & Calculation Services.

       38.     Defendant Janus Distributors LLC is a Delaware limited liability company doing

business as Janus Henderson Distributors (“JHD”). On May 30, 2017, Janus Henderson Group

plc completed its acquisition of its controlled entity, Janus Distributors LLC. According to Exhibit

21.1 to Janus Henderson Group plc’s Form 10-K filed with the SEC on February 27, 2018, JHD

is 100% owned by Janus Henderson Group plc. Prior to July 21, 2015, Janus Distributors LLC

was known as Velocity Index & Calculation Services. Janus Distributors LLC is the general

distributor and agent for the sale and distribution of shares of domestic mutual funds that are




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      directly advised or serviced by certain of Janus’ subsidiaries, as well as the distribution of certain

      commingled funds and exchange-traded products.

             39.     Janus, JIC, and JHD are collectively the “Janus Defendants.”

             40.     In 2010, VelocityShares LLC created VelocityShares Inverse VIX Short Term

      Exchange Traded Notes, commonly known as and trading under the name XIV. In November

      2010, Credit Suisse entered into a non-exclusive license agreement with JIC, as successor to

      Velocity Index & Calculation Services, to license for a fee, the right to use certain XIV and

      VelocityShares trade names, trademarks and service marks, which are owned by Janus, doing

      business as Janus Henderson Investors. Credit Suisse then began issuing XIV notes. Janus’s

      subsidiary JIC serves as a Calculation Agent for XIV, and its subsidiary JHD markets and places

      XIV notes.

IV.          CLASS ACTION ALLEGATIONS

             41.     Lead Plaintiffs bring this class action pursuant to Federal Rules of Civil Procedure

      23(a) and 23(b) on their own behalf and on behalf of:

             All persons and entities, their agents, successors in interest, assigns, heirs,
             executors, and administrators who purchased VelocityShares Daily Inverse VIX
             Short Term ETNs during the period between January 29, 2018 through and
             including February 5, 2018, and who were damaged thereby. Excluded from the
             Exchange Act Class are defendants and their families, the officers and directors and
             affiliates of defendants, at all relevant times, members of their immediate families
             and their legal representatives, heirs, successors or assigns, and any entity in which
             defendants have or had a controlling interest (the “Exchange Act Class”).

             42.     Lead Plaintiffs also bring this class action pursuant to Federal Rules of Civil

      Procedure 23(a) and 23(b) on their own behalf and on behalf of:

             All persons and entities, their agents, successors in interest, assigns, heirs,
             executors, and administrators who purchased VelocityShares Daily Inverse VIX
             Short Term ETNs pursuant to or traceable to the Offering Documents. The
             Offering Documents are Credit Suisse’s (i) January 29, 2018 pricing supplement
             (No. VLS ETN-1/A48) filed with the SEC pursuant to Rule 424(b)(2) and in



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       conjunction with (ii) Registration Statement No. 333-218604-02, (iii) prospectus
       supplement dated June 30, 2017, and (iv) prospectus dated June 30, 2017. Excluded
       from the Securities Act Class are defendants and their families, the officers and
       directors and affiliates of defendants, at all relevant times, members of their
       immediate families and their legal representatives, heirs, successors or assigns, and
       any entity in which defendants have or had a controlling interest (the “Securities
       Act Class”).

       43.     The members of the Classes are so numerous that joinder of all members is

impracticable. While the exact number of members of the Class is unknown to Lead Plaintiffs at

this time and can only be ascertained through appropriate discovery, Lead Plaintiffs believe that

there are thousands of members in the proposed Classes. Record owners and other members of

the Classes may be identified from records maintained by Credit Suisse or its transfer agent and

may be notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       44.     Lead Plaintiffs’ claims are typical of the claims of the Classes in that all members

of the Classes were damaged by the same wrongful conduct of Defendants as alleged herein, and

the relief sought is common to the Classes.

       45.     Numerous questions of law or fact arise from Defendants’ conduct that is common

to the Classes, including but not limited to:

                   a. whether the federal securities laws were violated by Defendants’ acts during
                      the Class Period, as alleged herein;

                   b. whether statements made by Defendants to the investing public during the
                      Class Period misrepresented material facts about the business and
                      operations of Credit Suisse and XIV;

                   c. whether the price of XIV notes was artificially inflated and/or maintained
                      during the Class Period;

                   d. whether Defendants manipulated the price of XIV during the Class Period;
                      and

                   e. to what extent the members of the Classes have sustained damages and the
                      proper measure of damages.


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            46.      These and other questions of law and fact are common to the Classes and

     predominate over any questions affecting only individual members of Exchange Act and Securities

     Act Classes.

            47.      Lead Plaintiffs will fairly and adequately represent the interests of the Classes in

     that they have no conflict with any other members of the Classes. Furthermore, Lead Plaintiffs

     have retained competent counsel experienced in class action and other complex litigation.

            48.      This class action is superior to the alternatives, if any, for the fair and efficient

     adjudication of this controversy. Prosecution as a class action will eliminate the possibility of

     repetitive litigation. There will be no material difficulty in the management of this action as a

     class action.

            49.      The prosecution of separate actions by individual members of the Classes would

     create the risk of inconsistent or varying adjudications, establishing incompatible standards of

     conduct for Defendants.

V.          EXCHANGE ACT ALLEGATIONS

            A.       Janus Creates XIV, An Inverse VIX Exchange Traded Note, And Partners
                     With Credit Suisse To Issue The XIV Notes

            50.      In 1993, the Chicago Board Options Exchange developed a metric intended to

     measure the near-term expected volatility in the broad equity market, as demonstrated by prices of

     options on the S&P 500 Index5 (“SPX”). This measure of expected volatility, known as the VIX

     Index or simply the VIX, is sometimes referred to as Wall Street’s “fear index” or “fear gauge.”

            51.      The VIX tracks higher when the market is anticipating increased volatility, and

     tracks lower when the market anticipates less volatility in the coming 30 days. On its website, the



     5
      A stock index based on the 500 largest companies whose stock is listed for trading on the NYSE
     or NASDAQ.

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CBOE states that “the VIX Index is intended to provide an instantaneous measure of how much

the market “thinks” the S&P 500 Index will fluctuate in the 30 days from the time of each tick of

the VIX Index.”

       52.        In 2004, the CBOE created VIX futures. Futures contracts represent a promise,

generally made through a futures exchange, to buy or sell a particular commodity or financial

instrument at a predetermined price at some future date.

       53.        In 2006, the CBOE created VIX options. An option gives the buyer the opportunity,

although not the obligation, to buy or sell a given security at an agreed upon price within a certain

period of time.

       54.        VIX futures and options essentially allow investors to trade and/or hedge an

investment position based on their assessment of future market volatility.6

       55.        In 2010, VelocityShares LLC, a predecessor of one of Janus’s subsidiaries, created

VelocityShares Inverse VIX Short Term Exchange Traded Notes, commonly known as and traded

under the name XIV. An Exchange Traded Note, or ETN, is an unsecured debt instrument traded

on a major exchange. ETNs function somewhat like promissory notes, in that investors pay money

to the institution sponsoring the ETN, and upon maturity, receive money. Unlike traditional

promissory notes, however, the value of ETNs such as XIV is derived from a particular market

index—here an index tracking short-term VIX futures—and payment is subject to the




6
  This Consolidated Complaint does not allege that Defendants participated in CBOE-sponsored
special auctions in S&P 500 index options, that the auction system that determined settlement
prices for the VIX was manipulated or manipulatable, or that the settlement price for the CBOE
volatility index (the VIX itself) was manipulated or artificial. Lead Plaintiffs in this case take no
position on any of these matters, which are irrelevant to the instant case, but are the subject of
separate litigation by other plaintiffs in other cases.

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creditworthiness of the sponsor issuing the ETN. In advance of the maturity date, XIV note holders

had the right to cause Credit Suisse to redeem their notes.

         56.   The value of XIV was derived from the inverse value of the daily returns of the

S&P 500 VIX Short-Term Futures Index (“SPVXSP”), which tracks a portfolio of first- and

second-month VIX futures contracts with a weighted-average time to maturity of 30 days. This

means that, generally speaking, when the SPVXSP went down 1% in one trading day, XIV was

designed to go up 1% that same trading day, and vice versa.

         57.    In November 2010, Credit Suisse entered into a non-exclusive license agreement

with JIC, as successor to Velocity Index & Calculation Services, to license for a fee, the right to

use certain XIV and VelocityShares trade names, trademarks and service marks, which are owned

by Janus, doing business as Janus Henderson Investors. Credit Suisse then began issuing XIV

notes.

         58.   Janus’ relationship to Credit Suisse’s XIV notes, however, was not just limited to

the licensing of its trademarks, but also included the marketing and placement of XIV notes. As

stated in Credit Suisse’s January 29, 2018 pricing supplement (the “January Supplement”), “Janus

Distributors LLC, effective May 30, 2017 doing business as Janus Henderson Distributors

(“JHD”), will receive all or a portion of the Daily Investor Fee in consideration for its role in

marketing and placing the securities under the ‘VelocityShares™’ brand.” As such, JHD was paid

for selling XIV notes to investors. Accordingly, JHD’s fees and profits from XIV were tied to the

number of XIV notes outstanding and marketed by JHD. As the January Supplement detailed,

“[t]he actual amount received by JHD in a given year will depend on the number of ETNs of any

series then outstanding and the number of other then outstanding ETNs of any series issued by us

and marketed and/or placed by JHD. From time to time, JHD and its affiliates have, and in the




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future may, engage in transactions with and perform services for us for which they have been, and

may be, paid customary fees.”

         59.   The Daily Investor Fee was an annual 1.35% fee, collected on a daily basis. When

XIV grew to a total value of $1.9 billion in market capitalization, for instance, Credit Suisse and

Janus collected at least $25,650,000 in annual fees. Notably, when XIV increased in value on any

given day, Credit Suisse and Janus collected a commensurately larger daily fee. Thus, as XIV

grew and grew, Credit Suisse and Janus collected more and more in fees.

         60.   In addition to JHD’s role in marketing and placing XIV notes, as explained in

Sections H and I, infra, Janus’s subsidiary JIC was also instrumental to the daily operations of

XIV, including active involvement in crucial matters such as: (i) determinations concerning the

calculation of various values related to the XIV notes, (ii) determinations concerning the

underlying inputs that impacted the calculations of these values; (iii) the ability to cause an

acceleration event to redeem the XIV notes earlier than their stated maturity date, and (iv)

designating when a “Market Disruption Event” occurred. Janus, by owning and controlling these

entities, also had significant control over the functioning of XIV and possessed significant rights

concerning them, including the right to cause Credit Suisse to accelerate the redemption of XIV

notes.

         B.    XIV’s Explosive Growth And Rapidly Increasing Price

         61.   From the initial issue of XIV in 2010, when XIV opened at $10 per share, XIV’s

price rose dramatically. After a 10:1 split on June 27, 2011, that took its price from $160 to $16,

XIV rose again to $146 at the beginning of 2018. During the seven years prior to February 5,

2018, the average annual return on XIV was 41%. During the year and a half preceding February

5, 2018, XIV increased from $18 to $146.44, or 813%. By holding their XIV notes, investors were

seeing massive returns. Accordingly, Credit Suisse knew that XIV investors were not using the


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notes as a “tool []to manage daily trading risks,” as characterized in the January Supplement.

These large returns are depicted below:




       62.     Indeed, as shown below, XIV dramatically outperformed returns on the S&P 500

Index, which itself experienced an extraordinary period of growth during the same time period.

For example, in 2017, XIV had annual returns of 187.5%, compared to an S&P 500 return of 22%

in an extraordinary bull market.




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       C.      Credit Suisse Knew Or Recklessly Disregarded Volatility Spikes Led To
               Liquidity Issues

       63.     Over time, Credit Suisse continued to issue more and more XIV notes to

unsuspecting investors. On June 30, 2017, for instance, Credit Suisse offered an additional

5,000,000 XIV notes on top of the 9,018,880 notes that were already issued and outstanding. On

January 29, 2018, Credit Suisse offered an additional 16,275,000 notes on top of the 10,793,880

XIV notes then-outstanding. The issuance of new notes, combined with the rise in XIV’s value,

led XIV’s market cap to increase to approximately $1.9 billion by February 2018.

       64.     Credit Suisse continued issuing more XIV notes and allowing the market cap to rise

despite its knowledge that, the next time VIX’s volatility spiked, as it did every few years, XIV’s

viability would be threatened. Unbeknownst to investors, however, Credit Suisse, took advantage

of these issues to ensure it would profit at its investors’ expense.

       65.     The cost and availability of VIX futures during VIX spikes is largely driven by

hedging activity by VIX-related Exchange Traded Product (“ETP”) issuers, including, most

critically, Credit Suisse, seeking to protect their balance sheets. Because of the requirement that



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ETN issuers pay note holders the value of the ETN when investors seek to redeem their notes,

ETN issuers, like Credit Suisse, do not want to put their balance sheets at risk by leaving the full

position “unhedged.” For instance, from XIV’s inception to February 2, 2018, Credit Suisse was

required to redeem at least 509 million XIV notes (split-adjusted) for $13.3 billion at an average

price of $26.05 per note. Had Credit Suisse not hedged its XIV position continually, Credit Suisse

would have lost about $364 million to fulfill its redemption obligation to investors.7

       66.     To hedge its exposure to XIV, Credit Suisse needed to hold largely short positions

in VIX futures (or swaps or options), which, as explained above, are inversely related to XIV.

Thus, when VIX futures prices dropped, Credit Suisse made money from its short positions, which

offset the ensuing higher XIV prices—and thus higher redemption values—Credit Suisse was

required to pay to XIV investors seeking to redeem their notes.

       67.     To adjust its VIX futures positions based on price fluctuations in XIV, i.e. to

maintain its hedge, Credit Suisse adjusted its VIX futures portfolio at the end of each trading day

based on XIV’s performance that day.

       68.     Importantly, virtually all VIX-related ETP issuers engaged in such hedging

activities and, thus, during large market movements these issuers simultaneously bought VIX

futures to hedge their positions.

       69.     On at least three occasions during the life of XIV prior to February 5, 2018, the

market experienced a spike in the VIX Index and an even larger spike in VIX futures prices due

to the hedging activities described above. Over the course of these three VIX spikes, the Credit




7
  The cost and availability of VIX futures during and after VIX spikes is also affected, in part, by
leveraged inverse VIX ETPs like SVXY that are required to buy VIX futures when they go up. In
either case, the result is increased demand for VIX futures.



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Suisse Defendants learned that there were simply not enough VIX futures contracts relative to the

hedging demand from Credit Suisse and other VIX-related ETP issuers. In other words, there were

“liquidity” issues in the VIX futures market during and after spikes in the VIX. These liquidity

issues caused VIX futures prices to temporarily increase even more than what would be expected

based on the size of the VIX increase, specifically during the end-of-day period when issuers

bought VIX futures to hedge their positions.

         70.   As evident from the chart below, the spikes were relatively brief and sharp:




         71.   Between August 4, 2011 and August 8, 2011, there was a three-trading day spike

in the VIX. On August 4, 2011, XIV opened at $14.83, and closed on August 8, 2011 at $10, a

decline of 32.57%, with the XIVIV—the Intraday Indicative Value—dropping 38.42% at one

point.

         72.   Between August 20, 2015 and August 24, 2015, there was another three-trading

day spike in the VIX:



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             Index        Date              Open          High           Low            Close
              VIX     August 20, 2015       16.55         19.24          16.13          19.14
              VIX     August 21, 2015       22.55         28.38          20.80          28.03
              VIX     August 24, 2015       28.03         53.29          28.03          40.74

       73.      The VIX spike on August 24, 2015, for instance, caused volume in the front- and

second-month VIX futures contracts to spike during afterhours trading to nearly one third of the

entire front- and second-month VIX futures market. This, in turn, caused a spike in VIX futures

prices that resulted in XIV at one point in afterhours trading dropping approximately 32.46% from

its previous close. As explained below, the January Supplement provided Credit Suisse the right,

but not the obligation, to redeem shares pursuant to an “Acceleration Event” if XIV’s Intraday

Indicative Value fell 80% or more from the previous day’s Closing Indicative Value. The August

24, 2015 crash in XIV’s value was thus a significant risk event that was immediately escalated to

Defendants Thiam and Mathers in accordance with Credit Suisse’s risk protocols described below.

       74.      Between June 9, 2016 and June 24, 2016, there was another spike in the VIX,

though more gradual than the previous two spikes. On June 24, 2016, approximately 118,000 first-

and second-month VIX futures contracts traded in the aftermarket, which represented nearly a

quarter of the entire first- and second-month VIX futures market. Again, this huge volume caused

a spike in VIX futures prices, resulting in a sharp drop in the XIV. From a close of $30.05 on June

23, 2016, XIV dropped as low as $20.79, or 30%, during afterhours trading on June 24. This risk

event was immediately escalated to Defendants Thiam and Mathers in accordance with Credit

Suisse’s risk protocols described below.

       75.      Following these liquidity issues in the VIX futures market, on July 1, 2016, Credit

Suisse made the following announcement (“July 2016 Announcement”), which was also filed with

the SEC:




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       Credit Suisse announced today that it will place conditions on its acceptance of
       offers to purchase VelocityShares™ Daily Inverse VIX Short Term ETNs (Ticker
       Symbol: “XIV”).

       Beginning on July 5, 2016, Credit Suisse may issue additional ETNs on a weekly
       basis and may condition its acceptance of a counterparty’s offer to purchase the
       ETNs on its agreement to sell to Credit Suisse certain hedging instruments
       consistent with Credit Suisse's hedging strategy, including but not limited to swaps.
       Any such hedging instruments will be executed on the basis of the indicative value
       of the ETNs at that time, will not reflect any premium or discount in the trading
       price of the ETNs over their indicative value and will be on terms acceptable to
       Credit Suisse, including the counterparty meeting Credit Suisse’s creditworthiness
       requirements, margin requirements, minimum size and duration requirements and
       such other terms as Credit Suisse deems appropriate in its sole discretion. In
       addition, Credit Suisse may from time to time issue the ETNs into inventory of its
       affiliates.[8]

       76.     The July 2016 Announcement confirms that the three VIX spikes in 2011, 2015,

and 2016, made apparent to the Credit Suisse Defendants that there were major problems related

to its end-of-day rebalancing of its XIV hedges. Specifically, during these VIX spikes Credit

Suisse saw issues with the cost and availability of VIX futures during its end-of-day hedging

process. Pursuant to Credit Suisse’s risk protocols described below, these hedging issues were

escalated immediately to senior management, including the CARMC, which included the

Individual Defendants, and were discussed by Credit Suisse’s risk management groups, including

the CARMC. As discussed in detail below, the CARMC, which consisted of Credit Suisse’s most

senior officers, including Defendants Thiam and Mathers, was responsible for actively monitoring

risk at the highest level, recommending risk limits to the Board, and allocating risk limits among

the Bank’s different lines of business, and any breach of those limits resulted in “immediate

notification” to Defendant Thiam.



8
 https://www.prnewswire.com/news-releases/credit-suisse-places-conditions-on-its-acceptance-
of-offers-to-purchase-velocityshares-daily-inverse-vix-short-term-etns-ticker-symbol-xiv-
300293417.html; https://www.sec.gov/Archives/edgar/data/1053092/000095010316014568/dp66
967_ex9901.htm.

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       77.     Because the CARMC was alerted that, during and after VIX spikes, the availability,

i.e. liquidity, of VIX futures was insufficient to hedge its growing position in XIV, exposing Credit

Suisse to substantial risk, Credit Suisse’s risk management protocols dictated that the CARMC—

and thus the Individual Defendants—would have determined Credit Suisse needed to give itself

additional avenues to hedge XIV. Thus, Credit Suisse issued the July 2016 Announcement to give

itself the option to demand from XIV purchasers “certain hedging instruments,” such as swaps, so

that it could protect itself from the liquidity issues escalated to the CARMC.

       78.     Nevertheless, Credit Suisse continued to issue new XIV notes, despite knowing that

it had already grown XIV too big to be adequately hedged by the relatively small VIX futures

market, and that there were liquidity issues with VIX futures during the daily rebalancing period

during afterhours trading.

       79.     This announcement also makes clear that the Credit Suisse Defendants knew that

XIV investors were holding XIV for weeks, months, or even years. Credit Suisse did not hedge

intraday purchases. Rather, by rebalancing at the end of each trading day, Credit Suisse hedged

over-night XIV positions held by investors. This is because, as explained above, Credit Suisse

purchased VIX futures to protect its balance sheets from the liability of future redemptions of XIV

notes. Thus, an investor who bought and redeemed an XIV note during the day no longer posed

any liability risk to Credit Suisse which Credit Suisse would need to hedge. Credit Suisse’s July

2016 Announcement was thus an implicit admission by Credit Suisse that XIV had a typical

holding period of weeks, months, or even years, and that, by and large, investors were not using

XIV as a tool to manage daily trading risk.

       80.     That Credit Suisse knew it had grown XIV too big for the size of the VIX futures

market is further confirmed by Credit Suisse’s own experience with other VIX-related products.




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In 2012, Credit Suisse stopped issuing shares of VelocityShares Daily 2x VIX Short-Term ETNs

(“TVIX”) after massive demand caused TVIX values to surge and become dislocated from the

values of the underlying VIX futures upon which TVIX was based. Though Credit Suisse cited

“internal limits on the size of the [TVIX] ETN” as the reason for the halt, even as far back as 2012

at least one analyst noted that “[t]he potential issue is whether this is a symptom of the volatility-

based exchange-traded products starting to outgrow the size of the VIX futures market.”9

(Emphasis added). Notably, Credit Suisse’s “internal limits” did nothing to constrain the massive

growth of XIV in the following years, because it planned to profit from this massive growth.

       81.     In addition, Credit Suisse knew the VIX was statistically certain to undergo a spike

every few years. After the events of February 5, 2018, analysts with the Bank for International

Settlements noted “the historical tendency of volatility increases to be rather sharp” and that Credit

Suisse was thus allowing XIV investors to effectively “collect[] pennies in front of a steamroller.”

       82.     Also after February 5, 2018, Artur Sepp, a former analyst for Merrill Lynch and

Bank of America, analyzed the probability of a one-day VIX futures spike of 80% occurring, which

is the level at which an Acceleration Event occurs. Based on historical data, Sepp found that the

probability of such a spike was about 0.37% at the high range, meaning such an event is expected

to occur every year, or 0.18% at the low range, meaning such an event is expected to occur once

every other year.

       83.     In other words, it was a statistical certainty that the VIX and VIX futures would

spike. As explained below, Credit Suisse’s risk management groups, including its most senior




9
  https://www.reuters.com/article/us-market-volatility-tvix/analysis-out-of-control-volatility-etn-
triggers-risk-concerns-idUSTRE81M2AO20120223

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executives, ran similar volatility stress tests, and thus knew, or at the very least recklessly

disregarded, these statistics.

        84.     Investors were not privy to—and Credit Suisse never told them—about the liquidity

issues Credit Suisse was experiencing in regards to hedging its XIV notes exposure, the risks these

issues posed to Credit Suisse, why Credit Suisse made the July 2016 Announcement, and how

Credit Suisse’s continued growth of XIV exacerbated the liquidity issue, which Credit Suisse

intended to exploit.

        D.      Credit Suisse Knew Or Recklessly Disregarded That XIV Investors Held Their
                Notes For Long Periods, Enabling Credit Suisse To Profit

        85.     In addition to its knowledge that VIX volatility would inevitability spike and that

investors would be wiped out when it did, Credit Suisse also knew that XIV notes were being held

by investors for long periods of time. Credit Suisse bet that such holding patterns would allow it

to profit at its investors’ expense once the next VIX spike occurred.

        86.     Specifically, Credit Suisse knew that, rather than being used as a “tool[] for

sophisticated investors to manage daily trading risks,” XIV was an extremely popular product that

was purchased and held over long periods by many individual investors, groups of investors,

family fund traders, exchange traded funds, and hedge funds. Indeed, according to Morningstar

Inc., “[j]ust one fifth of XIV’s outstanding shares are owned by funds and institutions[,]”

suggesting that “retail investors could own a sizeable chunk of the volatility product which booked

a 585 percent gain for the two years ending Feb. 1[, 2018].”10

        87.     Supporting that Credit Suisse knew XIV was largely purchased and held by

average individual investors, Credit Suisse did not require investors to have an options account to



10
   https://uk.reuters.com/article/uk-credit-suisse-gp-notes/credit-suisse-volatility-fund-liquidated-
after-market-selloff-idUKKBN1FQ1A0

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trade XIV. Instead, many of the XIV purchases came from orders on the Robinhood app, a smart

phone application that markets itself as a tool to let individuals “learn to invest in the stock market

for free.”11 On the website Reddit.com, there was a “Trade XIV” group with 1,800 active

members. Like popularly traded mutual funds built for individual investors, XIV charged a

management fee.

       88.     XIV’s popularity was regularly discussed in the media and among investors. In an

April 9, 2015 interview published on Seeking Alpha, Chris DeMuth, the co-manager of investment

firm Rangeley Capital LLC, was asked, “If you had to pick a stock today and hold it for 20 years,

what would it be?”12 He answered:

       The Daily Inverse Short-Term ETN (NASDAQ:XIV)…. It is the closest thing the
       world offers to the perfect security. It is a transfer mechanism between anyone who
       thinks of risk as volatility and those of us who think of risk as the risk of overpaying.
       The price-insensitive preference to avoid volatility is a real, durable, expensive
       preference that is so different than how I think about risk that owning XIV would
       be a natural thing for me to do for 20 years. It has been a long idea of mine since
       it was first launched, and I still own it today.

       89.     On August 28, 2017, The New York Times described VIX-related products like XIV

as “frequently among the most widely traded stocks of the day.”13

       90.     Moreover, as explained above, Credit Suisse incentivized Janus to sell as many XIV

notes as possible, since Janus’s fees and profits from XIV were tied to the number of XIV notes

outstanding.




11
   https://www.robinhood.com/?utm_source=google&utm_campaign=1347055090&utm_content
=59789658611&utm_term=263208028936__%2Brobinhood&gclid=EAIaIQobChMIuOTerrfR3
AIVSZyzCh36oQ-EEAAYASAAEgJS2PD_BwE
12
   https://seekingalpha.com/article/3059096-an-interview-with-chris-demuth-jr-author-of-sifting-
the-world
13
   https://www.nytimes.com/2017/08/28/business/dealbook/vix-trading.html


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       91.     Because Janus received the daily fees on XIV notes, Credit Suisse had to find

another way to profit from XIV. Credit Suisse received 100% of the proceeds for issuing the XIV

notes (less any fee). Because the Credit Suisse Defendants knew it was a statistical certainty that

the VIX would spike at some point, and because the Credit Suisse Defendants knew end-of-day

hedging activities could cause VIX futures to spike even higher and drive XIV into the ground,

the Credit Suisse Defendants knew they could reap massive profits by paying long-term XIV

investors pennies on the dollar after destroying XIV and subsequently announcing an acceleration.

       92.      Thus, Credit Suisse sold XIV notes at values as high as $135 during the Class

Period, while at the same time it actively took steps to ensure that it would only be required to pay

investors pennies on the dollar once volatility returned, VIX futures spiked due to liquidity issues,

and the value of XIV notes crashed. For instance, an investor who paid Credit Suisse $135 for an

XIV note and held that note until the next volatility event would only be owed a few dollars after

XIV crashed, with Credit Suisse pocketing the difference.

       E.      Credit Suisse’s Risk Management Structure Ensured The Individual
               Defendants Knew Or Recklessly Disregarded The Undisclosed Liquidity Risks

       93.     Due to the risk management structure in place at Credit Suisse, senior executives at

Credit Suisse were well aware of, or at the very least recklessly disregarded, the previous VIX

spikes and resulting liquidity issues in the VIX futures market, as well as the opportunities to be

gained at the expense of long-term holders of XIV notes who made up a significant portion of XIV

investors. Indeed, the July 2016 Announcement—which was made specifically to protect Credit

Suisse from the effects of VIX futures liquidity issues—was required to be approved by the

CARMC, and thus Defendants Thiam and Mathers, as it represented a material change to Credit

Suisse’s risk exposure.




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         94.    On March 24, 2017, Credit Suisse filed its 2016 Annual Report with the SEC on

Form 20-F (the “2016 Annual Report” or the “Report”), which explained in detail the Bank’s

extensive risk protocols and reporting mechanisms. The Report proclaimed that “the prudent

taking of risk in line with our strategic priorities” was “fundamental” to Credit Suisse’s business

as a leading global bank and “ensuring that capital is well deployed to support business activities.”

In describing the Bank’s “disciplined” risk culture, the Report stated:

         We base our business operations on conscious and disciplined risk-taking . . . We
         establish a clear risk appetite that sets out the types and levels of risk we are
         prepared to take; We actively monitor risks and take mitigating actions where they
         fall outside accepted levels; Breaches of risk limits are identified, analyzed, and
         escalated, and large, repeated or unauthorized exceptions may lead to terminations,
         adverse adjustments to compensation or other disciplinary action.

         95.    The Report emphasized that, to ensure the effectiveness of the Bank’s risk controls,

there was “strong involvement of senior management and the Board of Directors” in the Bank’s

risk management procedures. Indeed, the Report stated the Bank had established a sub-committee

of its Executive Board, CARMC, consisting wholly of the Bank’s most senior officers. CARMC

met regularly on a monthly basis and included “the chief executive officers (CEOs) of the

Group[14] and the divisions, the Chief Financial Officer, the Chief Risk Officer (CRO) and the

Treasurer.” Thus, Defendants Thiam and Mathers were on the CARMC.

         96.    Further, the Report stated that CARMC also played a central role in the Bank’s risk

management procedures, as it was responsible for actively monitoring risk at the highest level,

recommending overall risk limits for the Bank to the Board, and setting and allocating risk limits

among the Bank’s different lines of business:

         [CARMC] is responsible for supervising and directing our risk profile,
         recommending risk limits at the Group level to the Risk Committee and the Board,
         establishing and allocating risk limits among the various businesses, and for


14
     The 2016 Annual Report defines “the Group” to mean Defendant Credit Suisse Group AG.

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       developing measures, methodologies and tools to monitor and manage the risk
       portfolio.

(Emphasis added).

       97.     The 2016 Annual Report explained that risk limits were critical to the Bank’s risk

management procedures, as they were designed “to maintain our risk profile within our overall

risk appetite.” The Report explained that “[l]imits are binding thresholds that require discussion

to avoid a breach and trigger immediate remediating action if a breach occurs.” (Emphasis added).

The Report also stated that “[w]hile the primary purpose [of risk limits] is risk management, risk

limits are also useful tools in the identification of trading misconduct and unauthorized trading

activities.” (Emphasis added).

       98.     The Report stated the Bank had several levels of risk limits within its extensive risk

management framework, the breach of any one of which would trigger immediate escalation

procedures to notify senior management. Specifically, the Report stated the “overall risk limits”

for the Bank were “set by the Board in consultation with the Risk Committee and are binding,”

(emphasis added), and that any breach of these limits “would result in an immediate notification

to the chairman of the Board’s Risk Committee and the Group CEO, and written notification to

the full Board at its next meeting”:

       The overall risk limits for the Group are set by the Board in consultation with its
       Risk Committee and are binding. In the rare circumstances where a breach of these
       limits would occur, it would result in an immediate notification to the Chairman of
       the Board’s Risk Committee and the Group CEO, and written notification to the
       full Board at its next meeting. Following notification, the Group CRO may approve
       positions that exceed the Board limits up to a predefined level and any such
       approval is reported to the full Board. Positions that exceed the Board limits by
       more than the predefined level may only be approved by the Group CRO and the
       full Board acting jointly. In 2016 and 2015, no Board limits were exceeded.

(Emphasis added).




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       99.     Thus, Thiam, as CEO, received “immediate notification” of any and all breaches of

risk limits, including those relating to XIV.

       100.    The next level of risk limits was set by CARMC “[i]n the context of the overall risk

appetite of the Group, as defined by the limits set by the Board and its Risk Committee.”

Specifically, CARMC was “responsible for allocating divisional risk limits and more specific

limits deemed necessary to control the concentration of risk within individual lines of business.”

The Report emphasized that CARMC’s “limits are binding and generally set close to the planned

risk profile to ensure that any meaningful increase in risk exposures is promptly escalated.”

(Emphasis added).

       101.    The final level of limits was set by divisional management, who would “use[] a

detailed framework of individual risk limits designed to control risk-taking at a granular level by

individual businesses and in the aggregate.” These risk controls were intended to, among other

things, “trigger senior management discussions with the businesses involved, risk management

and governance committees in case of change in the overall risk profile.” (Emphasis added).

While “divisional chief risk officers and certain other members of senior management” had

authority to “temporarily increase” these more granular limits “by an approved percentage not for

a specified maximum period,” significantly, any excess was “subject to formal escalation

procedures and must be remediated or expressly approved by senior management.” Moreover,

even in this circumstance, senior management was required to continuously monitor and renew its

approval of any excesses that were not remediated within ten days:

       Senior management approval is valid for a standard period of ten days (or fewer
       than ten days for certain limit types) and approval has to be renewed for additional
       standard periods if an excess is not remediated within the initial standard period.




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       102.    Credit Suisse also has a Valuation Risk Management Committee (“VARMC”),

which is chaired by its CFO, Defendant Mathers, which “is responsible for establishing policies

regarding the valuation of certain material assets and the policies and calculation methodologies

applied in the valuation process.” The VARMC determined the VaR regimen—discussed further

below—and data sources for analyzing both the asset class net numbers and the numbers for a

product like XIV.

       103.    The 2016 Annual Report also describes another committee, the Risk Processes &

Standards Committee (“RPSC”), which “reviews major risk management processes, issues general

instructions, standards and processes concerning risk management, approves material changes in

market, credit and operational risk management standards, policies and related methodologies, and

approves the standards of [the Bank’s] internal models used for calculating regulatory capital

requirements.” The RPSC would have reviewed the flags and alarms like those created by one of

the prior XIV rebalancing liquidity issues described above.

       104.    Finally, the Report describes the Reputational Risk & Sustainability Committee

(“RRSC”), which “sets policies and reviews processes and significant cases relating to reputational

risks and sustainability issues. It also ensures compliance with [the Bank’s] reputational and

sustainability policies and oversees their implementation.” In other words, the RRSC is supposed

to prevent bad publicity like news reports that Credit Suisse would take profits from exercising the

XIV Acceleration Option to the detriment of investors.

       105.    As described in the 2016 Annual Report, a metric known as Value-at-Risk (“VaR”)

was “one of the main risk measures for [risk] limit monitoring.” VaR:

       quantifies the potential loss on a given portfolio of financial instruments over a
       certain holding period and that is expected to occur at a certain confidence level.”
       Specifically, Credit Suisse’s VaR model uses a “two-year historical dataset, a one-
       day holding period and a 98% confidence level. This means that we would expect



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       daily mark-to-market trading losses to exceed the reported VaR not more than twice
       in 100 trading days over a multi-year observation period. . . . Our VaR used for
       limit monitoring purposes also uses a two-year historical dataset, a one-day holding
       period and a 98% confidence level.

       106.    Credit Suisse also “estimate[d] losses associated with unusually severe market

movements,” “including stressed VaR, position risk and scenario analysis.” (Emphasis added).

       107.    On March 23, 2018, Credit Suisse filed its 2017 Annual Report with the SEC on

Form 20-F (“2017 Annual Report”). The 2017 Annual Report stated that the average VaR for

Credit Suisse’s entire equities asset class throughout the previous year was $10 million, with a

maximum VaR of $13 million for the asset class.

       108.    Even dividing XIV’s approximate $1.8 billion loss by 100 still shows a loss larger

than the VaR for Credit Suisse’s entire equities asset class.

       109.    Credit Suisse’s CARMC, and thus the Individual Defendants, allowed the risk

controls and risk levels to be breached because they calculated that Credit Suisse could make

money at its investors’ expense. Credit Suisse knew the structure of XIV meant that the Bank was

paid by investors to bet on volatility returning. Credit Suisse knew that once volatility spiked—as

it knew was a certainty—Credit Suisse would squeeze the end-of-day rebalancing market, cover

itself, and then exercise the Acceleration Option only after it had driven XIV into the ground,

paying investors pennies on the dollar while pocketing hundreds of millions in profit.

       110.    Investors relied on Credit Suisse’s statements regarding their internal risk limits.

       F.      After An Extended Period Of Low Volatility, Credit Suisse Issued Millions
               More XIV Notes On January 29, 2018, Making More Money While Planning
               To Profit From An Imminent VIX Spike

       111.    Despite knowing that there were significant liquidity issues in end-of-day hedging,

and that it would be impossible for VIX-related ETP issuers to handle even a moderate volatility

spike, the Credit Suisse Defendants continued to issue more XIV notes, exacerbating their hedging



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problem and contributing to XIV’s ultimate destruction. Indeed, Credit Suisse continued to expand

XIV by selling large amounts of XIV notes right up through January 29, 2018, when Credit Suisse

offered an additional 16,275,000 XIV notes, knowing the expansion of XIV would further

exacerbate future liquidity issues, and that it was a near certainty that hedging activities, including

Credit Suisse’s own, after even a modest VIX spike would destroy XIV.

       112.    By February 2018, VIX-related ETPs reached approximately $4 billion in assets

under management. Of this amount, XIV alone accounted for approximately $1.9 billion.

       113.    By this time, it had been over 1.5 years since the last major VIX spike, and Credit

Suisse knew it was a statistical certainty another spike would occur at some point.

       114.    Credit Suisse wanted to continue to grow XIV because investors—who Credit

Suisse knew by and large were holding XIV for long periods—paid Credit Suisse upwards of $135

per note, allowing Credit Suisse to accrue billions. As explained above, Credit Suisse also knew

that it was a statistical certainty that the VIX would spike sharply at some point, resulting in a

liquidity squeeze in the VIX futures market during the end-of-day rebalancing period, to which

Credit Suisse would contribute, and the inevitable collapse of XIV. This collapse would allow

Credit Suisse to pay back XIV note holders only pennies on the dollar while it pocketed the

difference.

       115.    Indeed, because Credit Suisse had grown XIV so much larger than the VIX futures

upon which XIV’s value was based, Credit Suisse knew it could easily, and relatively cheaply, buy

VIX futures to cause XIV to collapse.

       116.    Thus, Credit Suisse continued to grow and sell XIV to investors knowing it was

selling them a ticking time bomb. Investors continued buying XIV as they saw large returns during

an extended period of low volatility. Meanwhile, Credit Suisse knew for a fact that (1) investors




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were holding XIV notes for extended periods, (2) a VIX spike was inevitable, (3) based on previous

VIX futures liquidity issues, Credit Suisse could cheaply and easily contribute to a spike in VIX

futures when the VIX spike happened, and (4) it could announce an Acceleration Event allowing

it to pay XIV investors pennies on the dollar while protecting itself from a public relations disaster

by blaming the Acceleration Event on volatility.

       G.      Defendant Thiam’s Restructuring Plan Provided Additional Incentive For
               Credit Suisse To Destroy XIV

       117.    The prospect of massive profits was not the only incentive for Credit Suisse to bet

against its investors and cause XIV to collapse. The Bank was in the midst of a major three-year

restructuring plan in which Credit Suisse announced it would slash risky assets in favor of the

Bank’s more stable wealth management division. This restructuring placed added pressure on the

Bank to ensure it closed out XIV at the first opportunity.

       118.    On July 1, 2015, Defendant Thiam became Credit Suisse’s CEO. Due to the Bank’s

historical challenges maintaining adequate capital, and the fact that it was about to face even

steeper capital requirements by regulators, analysts and investors expected Thiam to substantially

scale back the investment bank, as they noted another bank, UBS, had already done years ago.

       119.    On Credit Suisse’s third quarter October 21, 2015 earnings call, Thiam announced

his new strategy for Credit Suisse to emphasize the Bank’s more stable Private Banking & Wealth

Management division while “right-sizing,” or shrinking, the investment bank to “reduce earnings

volatility.” Thiam also announced that, in addition to these efforts, Credit Suisse would issue a

private placement and rights offering in an effort to raise an additional CHF 6 billion ($6.1 billion)

in much needed external capital from the Bank’s investors.

       120.    Credit Suisse also announced on the October 21, 2015 call that, to ensure the

shrinkage of the investment bank and of the Global Markets division in particular, the Bank had



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created an entirely separate unit—the “Strategic Resolution Unit,” or “SRU”—that was devoted

to downsizing prior management’s risky investments that did not conform with the Bank’s new

strategy. The Bank’s CFO, Defendant Mathers, described the SRU as a “stand-alone segment with

its own governance structure and reporting obligations and clear accountability for its primary

objectives,” which were the “immediate right-sizing of the Global Markets division, as well as the

other exposures that do not fall within the strategic goals of the business divisions.” Mathers stated

that the SRU would have a “direct reporting line” to him.

       121.     A Morningstar report, however, commented that Credit Suisse’s cuts to the

investment bank were less than hoped, which was discouraging in light of the investment bank’s

poor third quarter performance:

       We’re disappointed that new CEO Tidjane Thiam is maintaining Credit Suisse’s
       commitment to having a strong investment bank, as we’d thought UBS-style radical
       cuts were possible. The revised strategy, which will significantly cut macro
       businesses . . . will cut only about 20% of the investment bank’s risk-weighted
       assets . . . Credit Suisse’s performance in the third quarter was disappointing . . .
       Very bad performance from the investment bank was behind most of the drop—
       strategic pre-tax income in the unit fell to CHF 282 million from CHF 995 million
       in the year-ago quarter, as fixed income trading revenue declined significantly.

       122.     An October 21, 2015 Financial Times article also highlighted analysts’ criticisms

of Thiam’s shrinkage of the investment bank by only 20%, stating “[i]t was a far cry from the

speculation immediately after Tidjane Thiam’s appointment in March as chief executive, when the

bank’s shares surged 8 percent on hopes of a big push into Asia, a big wealth management

acquisition and drastic cuts to investment banking.”

       123.     In the following years, as part of the restructuring, Credit Suisse cut thousands of

jobs, sold off risky legacy assets, and raised more than 10 billion Swiss francs ($10.2 billion) from

shareholders.




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        124.    Pressure on the Bank continued, however, resulting in an October 2017 campaign

by activist investor RBR Capital Advisors to break up Credit Suisse.15 On November 28, 2017,

Defendant Thiam, speaking regarding his restructuring plan to reduce reliance on volatile trading

in favor of wealth management, stated: “The shareholders have been through a lot. I’m painfully

aware that I had to dilute my shareholders very significantly[. . . .] As we generate more profit

and the bank does better,” he said, “the goal of all this is to return capital to shareholders.” He

further stated that, to return capital to shareholders, “[e]verything is on the table[.]”

        125.    Thus, in addition to their motive to capitalize on volatility spikes at investors’

expense, Credit Suisse faced intense pressure to profitably close XIV from two fronts: (1) pressure

from Thiam and investors to drastically scale back Credit Suisse’s investment bank; and

(2) pressure to generate profit as soon as possible to quell brewing investor revolts.

        H.      XIV’s “Calculation Agents”

        126.    Credit Suisse relied on two different entities to provide calculation-related services

and make certain determinations for XIV: CSI and JIC.

        127.    CSI is an affiliate and major subsidiary of Credit Suisse.

        128.    CSI and JIC were owned and controlled by Credit Suisse and Janus, respectively.

        129.    CSI and JIC were defined by Credit Suisse in the January Supplement as the

“Calculation Agents.”

        130.    As the Calculation Agents, CSI and JIC had significant control, responsibilities,

and rights concerning XIV.

        131.    The January Supplement summarizes the “Role of the Calculation Agents” as to

the XIV as:


15
  https://www.reuters.com/article/us-credit-suisse-gp-rbr-capital-advisors/activist-investor-rbr-
launching-campaign-to-break-up-credit-suisse-ft-idUSKBN1CL31E

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       The Calculation Agents will, in their reasonable discretion, make all calculations
       and determinations regarding the value of the ETNs, including at maturity or upon
       redemption by Credit Suisse, Market Disruption Events (see “— Market Disruption
       Events”), Business Days and Index Business Days, the Daily Investor Fee amount,
       the Daily Accrual, the closing level of the applicable underlying Index on any Index
       Business Day, the Maturity Date, any Early Redemption Dates, the Acceleration
       Date, the amount payable in respect of your ETNs at maturity, upon redemption or
       upon acceleration by Credit Suisse and any other calculations or determinations to
       be made by the Calculation Agents as specified herein. CSI will have the sole ability
       to make determinations with respect to reduction of the Minimum Redemption
       Amount, certain Acceleration Events, and calculation of default amounts. JIC will
       have the sole ability to calculate and disseminate the Closing Indicative Value,
       make determinations regarding an Index Business Day, and determinations of splits
       and reverse splits. All other determinations will be made by the Calculation
       Agents jointly. Absent manifest error, all determinations of the Calculation
       Agents will be final and binding on you and us, without any liability on the part
       of the Calculation Agents. You will not be entitled to any compensation from us
       for any loss suffered as a result of any of the above determinations by the
       Calculation Agents.

(Emphasis added).

       132.    Per the January Supplement, JIC had the responsibility to calculate and disseminate

the Closing Indicative Value, determine what constituted an “Index Business Day,” and make

determinations of splits and reverse splits. The January Supplement states that “[a]ll other

determinations will be made by the Calculations Agents jointly.”

       133.    The Calculation Agents together possessed significant power and control over the

XIV notes that could be exercised at their sole discretion. This control and power covered almost

all aspects of the XIV notes and their existence.

       134.    As described in the January Supplement, these powers included, among other

material duties and determinations, crucial matters such as: (i) determinations concerning the

calculation of various values related to the XIV notes, (ii) determinations concerning the

underlying inputs that impacted the calculations of these values; (iii) the ability to cause an

acceleration event to redeem the XIV notes earlier than their stated maturity date, and (iv)

designating when a Market Disruption Event occurred.


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       135.    First, the Calculation Agents were responsible for calculating and issuing the

Intraday Indicative Values and Closing Indicative Values, detailed below. These values were not

only crucial to the structure and pricing of XIV, but were also heavily relied upon by investors in

making decisions concerning their investments in XIV.

       136.    Second, the Calculation Agents could alter the very index upon which the Intraday

Indicative Value and the Closing Indicative Value were based.          As stated in the January

Supplement, “[t]he Calculation Agents, may modify, replace or adjust the Indices under certain

circumstances even if the Index Sponsor continues to publish the applicable Index without

modification, replacement or adjustment.”

       137.    Third, the Calculation Agents were given the right and power to cause an

Acceleration Event at their discretion that could beneficially impact Credit Suisse. Notably, the

January Supplement defined an Acceleration Event as, among other things:

       any event, as determined by us or the Calculation Agents that we or any of our
       affiliates or a similarly situated party would, after using commercially reasonable
       efforts, be unable to, or would incur a materially increased amount of tax, duty,
       expense or fee (other than brokerage commissions) to acquire, establish, re-
       establish, substitute, maintain, unwind or dispose of any transaction or asset it
       deems necessary to hedge the risk of the ETNs, or realize, recover or remit the
       proceeds of any such transaction or asset.

(Emphasis added). The January Supplement also defined an Acceleration Event as having

occurred “if, at any point, the Intraday Indicative Value is equal to or less than twenty percent

(20%) of the prior day’s Closing Indicative Value.” (Emphasis added). Notably, the January

Supplement also provided that Credit Suisse could, at any time, exercise its unconditional right to

an “Optional Acceleration” of all XIV notes.




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       138.    Fourth, the Calculation Agents had the power to determine when a Market

Disruption Event occurred. The impact of such a determination is, in relevant part, discussed in

the following section

       I.      XIV’s Closing Indicative Value and Intraday Indicative Value

       139.    Materially important to XIV’s investors was the calculation and publication of

XIV’s Intraday Indicative Value and Closing Indicative Value by the Calculation Agents.

       140.    Each of these values was derived from a pre-defined formula utilizing the values of

the SPVXSP, the underlying index explained above which tracks a portfolio of first- and second-

month VIX futures contracts.

       141.    The January Supplement stated the following concerning the value of each “Index,”

including SPVXSP:

       The value of each Index will be published by Bloomberg in real time and after the
       close of trading on each Index Business Day . . . The intraday level of each of the
       Indices is calculated in real time by S&P on each S&P 500 VIX Futures Business
       Day . . . applying real time prices of the relevant VIX futures contracts.

(Emphasis added).

       142.    The Closing Indicative Value serves as the basis of the value of XIV in the event

of an early redemption, an acceleration, or upon maturity. In essence, the Closing Indicative Value

equates to Credit Suisse’s liability for each XIV note, as the Closing Indicative Value is used to

calculate the amount due to an investor under each of these events. These events were also the

only way Credit Suisse would close out its financial obligations to holders of XIV notes.

Otherwise, as stated by Credit Suisse in the January Supplement, “[a]s long as an active secondary

market in the ETNs exists, we expect that investors will purchase and sell the ETNs primarily in

this secondary market.”




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       143.    Given that the Closing Indicative Value was only published at the end of an Index

Business Day, the Intraday Indicative Value provided to the market the value of XIV (as it related

to the value investors would receive from Credit Suisse as a result of a redemption or an

acceleration of the XIV ETNs, subject to any fees associated with such event) every 15 seconds

during an Index Business Day.

       144.    The Intraday Indicative Value is designed to provide the “economic value” of XIV

at a given point in time, and was to be calculated and disseminated to the market every 15 seconds.

       145.    In relevant part, the January Supplement states that:

       The “Intraday Indicative Value” for each series of ETNs is designed to
       approximate the economic value of such series of ETNs at a given time. It is
       calculated using the same formula as the Closing Indicative Value, except that
       instead of using the closing level of the applicable underlying Index, the calculation
       is based on the most recent intraday level of such Index at the particular time. The
       Intraday Indicative Value of the ETNs will be calculated every 15 seconds on
       each Index Business Day during the period when a Market Disruption Event has
       not occurred or is not continuing and disseminated over the Consolidated Tape,
       or other major market data vendor.

(Emphasis added).

       146.    Per the Prospectus, the Intraday Indicative Value is calculated “using the same

formula as the Closing Indicative Value, except that instead of using the closing level of the

applicable underlying Index, the calculation is based on the most recent intraday level of such

Index at the particular time.”

       147.    Credit Suisse knew that the Intraday Indicative Value was material to, and relied

on, by investors. It stated in the January Supplement, for example, the following:

       Investors can compare the trading price of the ETNs (if such concurrent price
       is available) against the Intraday Indicative Value to determine whether the
       ETNs are trading in the secondary market at a premium or a discount to the
       economic value of the ETNs at any given time.

(Emphasis in original).



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       148.    The Intraday Indicative Value was published under its own Bloomberg ticker,

XIVIV. NASDAQ was the official disseminator of the XIVIV. According to Reuters data,

NASDAQ disseminated the XIVIV to investors on a second-by-second basis to facilitate investors’

access to this critical information.

       149.    Although the January Supplement notes that “[t]he actual trading price of the ETNs

of any series may be different from their Intraday Indicative Value” and that “[t]he actual trading

price of the ETNs in the secondary market may vary significantly from their Intraday Indicative

Value,” (emphasis omitted), the XIVIV closely matched the actual market trading prices in the

market.

       150.    As detailed in the following chart, on January 3, 2017, a representative normal

trading day, the XIVIV closely followed XIV’s market price, “approximat[ing] the economic

value” of XIV in real time as promised by the prospectus supplement:




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       151.    The January Supplement also discussed what would occur if certain market events

affected the Closing and Intraday Indicative Values, who would be responsible for determining if

these events occurred, and how these events would affect XIV and XIV investors.

       152.    The Credit Suisse Defendants defined such events as a “Market Disruption Event.”

Specifically, the January Supplement defines a Market Disruption Event as follows:

       A “Market Disruption Event” will be any event that, in the determination of the
       Calculation Agents, could materially interfere with our, our affiliates, third parties
       with whom we transact, or similarly situated third party’s ability to establish,
       maintain or unwind all or a material portion of a hedge that could be effected with
       respect to the ETNs, including, but not limited to:

            a suspension, absence or material limitation of trading in option or futures
           contracts relating to the Index, the VIX Index, the S&P 500® Index, the
           component securities of the S&P 500® Index, or to the underlying futures, if
           available, on their respective Primary Exchange or Related Exchange, as
           determined by the Calculation Agents,

            option or futures contracts relating to the Index, the VIX Index, the S&P
           500® Index, the component securities of the S&P 500® Index, or the
           underlying futures, if available, not trading on their respective Primary
           Exchange or Related Exchange, as determined by the Calculation Agents,

            the Index Sponsor or the CBOE fails to publish or compute the Indices or
           VIX Index, or

            any trading restriction imposed upon, option or futures contracts relating to
           the Index, the VIX Index, the S&P 500® Index, the component securities of the
           S&P 500® Index, or to the underlying futures, if available, on their respective
           Primary Exchange or Related Exchange due to a price change in that respective
           instrument exceeding limits set by that market before the close of trading in that
           market on any day, as determined by the Calculation Agents.

       153.    Importantly, this definition defines an “absence or material limitation of trading”

in option or futures contracts relating to the underlying indices, the components of the indices, or

to the underlying futures by reason of “a price change exceeding limits set by that market,” “an

imbalance of orders relating to that stock, instrument or those contracts,” or “a disparity in bid and

ask quotes relating to that stock, instrument or those contracts.”


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       154.   In the event that a Market Disruption Event occurred, the Calculation Agents were

to “determine the Daily Index Performance on such Index Business Day based on their

assessment of the level of the applicable underlying Index that would have prevailed on such

Index Business Day were it not for such Market Disruption Event.” (Emphasis added).

       J.     Credit Suisse’s Manipulative Scheme Succeeds And Steamrolls Over XIV
              Investors

       155.   On Monday, February 5, 2018, Credit Suisse seized the opportunity presented and

executed its long-awaited plan to close out XIV while pocketing millions at the expense of its

investors.

       156.   The market had experienced a 1.5-year period of notably low volatility, with stocks

rising and the XIV’s value skyrocketing.

       157.   The previous trading day, Friday, February 2, 2018, XIV closed its regular trading

session at 4:00 p.m. EST at a price of $108.3681 per Note.

       158.   The next trading session on February 5, 2018, XIV opened at $104.27 per Note.

       159.   On this day, the stock market pulled back, with the S&P 500 dropping 4.1% “amid

concerns about rising bond yields and higher inflation,” reinforced by the January 2018 U.S. jobs

report “that prompted worries the Federal Reserve w[ould] raise rates at a faster pace than

expected” in 2018.16

       160.   As the stock market dropped, the VIX index spiked. The SPVXSP, which tracked

the return on first- and second-month VIX futures contracts, also rose sharply. The first- and

second-month VIX futures contracts at the time were the February 2018 and March 2018 contracts.




16
  https://www.reuters.com/article/us-usa-stocks/wall-street-plunges-sp-500-erases-2018s-gains-
idUSKBN1FP1OR

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       161.      XIV’s Intraday Indicative Value, the XIVIV, which inversely tracked the SPVXSP,

dropped precipitously during the day. At the close of regular market trading at 4:00 p.m., XIVIV

was at $72.59.

       162.      Knowing of the previous liquidity issues and that other participants in the VIX-

related ETP market would be seeking to hedge their positions by buying VIX futures, Credit Suisse

executed its plan to rid itself of XIV while making hundreds of millions of dollars at investors’

expense and blaming the collapse on market forces. Credit Suisse bought up thousands of February

and March VIX futures contracts, drastically reducing their supply, and as a result drastically

driving up the price of the contracts. Between 4:00 p.m. and 4:15 p.m., February VIX futures

prices went from $23.10 to $33.20, and March VIX futures prices went from $18.90 to $27.95, a

spike of 43.72% and 47.88% respectively.

       163.      That Credit Suisse was a primary mover of this spike is supported by its own

admission the following day that it faced “no material impact” from XIV’s plunge because, as the

issuer of XIV, “we hedge the risk. We hedge XIV by trading VIX futures.”

       164.      On February 2, 2018, XIV had 14,993,880 notes issued and outstanding at a closing

indicative value of $108.3681 per note. A fully hedged portfolio had a short exposure to VIX

futures contracts of $1.6 billion, taking into account Credit Suisse’s two other short-term VIX

ETNs. To have fully hedged its risk on February 5, Credit Suisse needed to buy a combined

105,474 VIX futures contracts by 4:15 p.m., when the daily VIX futures’ settlement values are

calculated by the CBOE.

       165.      And, indeed, transaction data show a spike in trading volume in February and

March VIX futures contracts to 167,377 VIX futures contracts, or roughly one third of the entire

February and March VIX futures market, just before 4:15 p.m. on February 5. From August 2012




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through August 2018, the average minute-by-minute trading volume for these futures contracts

was approximately 1,000. This was also the average volume on February 2. Thus, the trading

volume in the February and March VIX futures contracts during aftermarket trading on

February 5 was more than 167 times the usual volume of trades. The following chart shows the

drastically increased volume and prices in VIX futures trading:




       166.    By driving up the price of the VIX futures contracts to which the value of XIV was

inversely tied, Credit Suisse knew it could close out XIV by announcing an Acceleration Event

while blaming the collapse on market volatility. Remaining holders of XIV notes, who had paid

Credit Suisse as much as $135 per note during the Class Period, would receive pennies on the

dollar while Credit Suisse reaped hundreds of millions in profit.

       167.    By 4:09 p.m., Credit Suisse’s strategy was going as planned. By this time, Credit

Suisse specifically knew that, due to its large purchases of February and March VIX futures

contracts which drove up the price of those contracts, XIV’s true economic value had dropped to

approximately $20, which constituted more than an 80% drop in value from the previous trading




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day’s Closing Indicative Value, and thus, according to its own January Supplement, an

Acceleration Event had occurred.




        168.    Yet Credit Suisse, instead of announcing an Acceleration Event, halting trading, or

otherwise protecting investors, continued to profit at its investors’ expense as Credit Suisse

continued driving a liquidity squeeze in the VIX futures market.

        169.    By 4:15 p.m., Credit Suisse knew based on the prices of the VIX futures contract it

was buying that XIV’s Closing Indicative Value would decline by 96% from the previous day’s

Closing Indicative Value. The last trade by 4:15 p.m. on February 5, 2018 in the February VIX

futures contract was at $33.20 and the last trade in the March contract was at $27.95. These prices

were 112.5% and 86.8% higher, respectively, than the previous day’s settlement values for the

February and March contracts. The weights to be applied on February 5, 2018 to these two daily

changes were known to Credit Suisse to be 0.35 and 0.65, so the weighted average increase in the

relevant futures settlement values was certain to be 95.77% give or take a trivial amount as a result

of using the average of bid and ask quotes at 4:15 p.m. instead of last trade prices and because of

the tiny daily accrual of interest and fees.



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       170.    The percentage change in the S&P 500 on February 5, 2018 was approximately

negative 4%. Historically, the correlation of the front month VIX futures contract to the S&P 500

index should have produced a 15% to 25% jump in the front month VIX futures contract price

from the prior day’s close. Instead, on February 5, 2018, due to Credit Suisse’s liquidity squeeze,

the jump was almost 100%.

       K.      Credit Suisse And Janus Issue Materially False And Misleading XIV Intraday
               Indicative Values On February 5, 2018

       171.    Throughout the day on February 5, 2018, XIV’s Intraday Indicative Value closely

tracked the XIV market price until approximately 2:30 p.m., when it started to diverge. This

divergence was much more significant in aftermarket trading, and was exceptionally large between

the hours of 4:08 and 5:09 p.m.

       172.    The following graph depicts the movements of the Intraday Indicative Value

relative to the XIV ETN market prices throughout February 5, 2018:




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       173.    The chart below represents the uniqueness and magnitude of the divergence of the

XIV market price and Intraday Indicative Value against the 99.9 percentile of these prior

differences during the month preceding January 29, 2018:




       174.    At 4:09:48 p.m., the XIVIV showed a value of $27.0855, and failed to update until

approximately 4:12:33, when it showed a value of $27.1951. It then updated two more times in

the next minute, showing a value of $26.3182 at 4:12:47 and a value of $24.8933 at 4:13:03. After

this, the Calculation Agents stopped updating XIVIV altogether. Between 4:35:48 and 4:38:34

p.m., XIVIV changed values slightly to show a value between $24.5645 and $27.0855, before

freezing again at $24.6961 until 5:09:05 p.m., when the Calculation Agents finally updated XIVIV

to $4.2217.

       175.    At all times between 4:09:48 p.m. and 5:09:04 p.m., the Calculation Agents

represented the Intraday Indicative Value to be between $24.8933 and $27.0855 (the “Flatline

Value”), and Reuters data shows that NASDAQ was updating the market with the Flatline Value

at one-second intervals during this period.




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       176.    Within 14 seconds after the issuance of the Flatline Value at 4:09:48 p.m., the value

became false and/or misleading to investors when the Intraday Indicative Value stopped updating

and the Flatline Value was continually reported to investors as the current Intraday Indicative

Value despite it no longer representing the actual current value of the Intraday Indicative Value.

       177.    As a result, investors took the Flatline Value as a sign of the relative strength of

XIV and bought XIV notes at drastically inflated prices between 4:09:48 p.m. and 5:09:04 p.m.

EST.

       178.    As the Flatline Value was posted until 5:09:04 p.m., it served as a new statement

of the Intraday Indicative Value every 15 seconds, as Credit Suisse repeatedly stated in the January

Supplement to investors that the Intraday Indicative Value would be updated every 15 seconds

except when a Market Disruption Event had occurred and was disseminated (and in this event

Credit Suisse, CSI, Janus, JIC never disseminated that a Market Disruption Event occurred). Thus,

the market considered the Flatline Value to be the correct, up-to-date Intraday Indicative Value

during the 4:09:48 p.m. and 5:09:04 p.m. timeframe and relied upon it, because Credit Suisse

explicitly told investors that they should evaluate it before investing in the XIV notes.

       179.    Given the events of February 5, 2018 and the absence of information disseminated

by Credit Suisse, Janus, or the Calculation Agents concerning the unreliability of the Intraday

Indicative Value and/or that a Market Disruption Event and/or an Acceleration Event was

occurring or had occurred, an average investor reasonably relied upon the Intraday Indicative

Value made available to them by Credit Suisse through the Calculation Agents.

       180.    This is substantiated by the fact that investors continued to purchase XIV notes at

inflated market prices as a result of the Flatline Value reflecting a higher Intraday Indicative Value

then what would have been reported if the Intraday Indicative Value had continued to be




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disseminated as represented by Credit Suisse. Indeed, during this approximately hour-long period,

investors purchased hundreds of millions worth of XIV notes when Defendants represented to the

public that the economic value of the notes was $24.6961 but knew that the true economic value

was already between $4.22 and $4.40.

       181.    Notably, because the XIVIV showed a value between approximately $24 and

approximately $27 throughout this period, investors were led to believe that XIV had not suffered

an Acceleration Event, because those values did not represent an 80% or greater drop from the

previous day’s Closing Indicative Value of $108.3681. Thus, the false XIVIV values disseminated

by the Calculation Agents led investors to believe XIV survived the day’s turmoil and that the

price would bounce back, allowing them to profit on these purchases.

       182.    Further, during this time, investors could not accurately evaluate the Intraday

Indicative Value against the XIV’s market price to follow Credit Suisse’s admonition in the

January Supplement that “[b]efore trading in the secondary market, you should compare the

Closing Indicative Value and Intraday Indicative Value with the then-prevailing trading price of

the ETNs.”

       183.    After XIVIV stopped updating, the divergence between XIV’s market price grew

substantially before the market price of the notes began to fall more precipitously towards the

stagnant Flatline Value.

       184.    By using data only available after the events of February 5, 2018, and applying the

Intraday Indicative Value formula disclosed by Credit Suisse in the January Supplement, the falsity

of the Flatline Value can be seen at each 15 second interval from 4:09:48 p.m. until 5:09:05 p.m.

when the value resumed updating. Below is a chart that depicts this time frame, and shows XIV’s




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economic value, the XIVIV as disseminated by Credit Suisse and Janus, and the “But-for XIVIV,”

which represents what the true XIVIV should have shown:




       185.   Thus, the Flatline Value was materially false and/or misleading, as it did not

represent the actual Intraday Indicative Value. Moreover, if a Market Disruption Event was

occurring or had occurred during the Flatline Value period, the Flatline Value was misleading as

neither Credit Suisse, CIS, Janus, nor JIC disclosed to the market that the Flatline Value was

unreliable or that a Market Disruption Event had occurred or was occurring.

       186.   On February 5, 2018, by 4:15 p.m. EST the last trade in the February futures

contract was at $33.20, and the last trade in the March contract was at $27.95. The pricing on

these contracts was 112.5% and 86.8% higher, respectively, than the prior close for the

corresponding February and March futures contracts.

       187.   Thus, the February 5th futures pricing supported an Intraday Indicative Value on

XIV of $4.40 per note and a Closing Indicative Value of $4.22 per note. Nevertheless, Credit

Suisse, Janus, CIS, and JIC continued to incorrectly report the Flatline Value as $24.6961 until




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5:09:04 p.m.    Notably, because of the liquidity squeeze it engineered, Credit Suisse knew

definitively XIV’s true Intraday Indicative Value and that it and the Calculation Agents were

disseminating grossly inaccurate XIVIV values.

        188.   Credit Suisse also knew investors were purchasing XIV at massively inflated values

based on materially misleading XIVIV values which were not being updating in real time based

on the real-time prices of the relevant VIX futures contracts, and that it had a duty to update its

previous assertions regarding the accuracy and real-time pricing of XIVIV.

        189.   But rather than post accurate XIVIV values, disclose to the market that XIVIV was

not to be relied upon, or, alternatively, alert the market that a Market Disruption Event had

occurred, halt trading, or otherwise protect investors, Credit Suisse continued to execute its plan

to drive the liquidity squeeze and run XIV into the ground.

        190.   It was not until 5:09:05 p.m. that the Calculation Agents finally updated the XIVIV

to a value of $4.2217 per note, nearly 1/6th the value they had disseminated during the previous

hour.

        L.     Investors Lose Hundreds Of Millions Due To Defendants’ False and
               Misleading Intraday Indicative Value

        191.   Credit Suisse and Janus failed to disclose that they (through CSI and JIC) caused

the Intraday Indicative Value to stop updating at 4:09:48 p.m., thereby causing investors to believe

the Flatline Value issued by the Calculation Agents at 4:09:48 p.m. was its current value until it

resumed updating at 5:09:05 p.m. As a result, investors were led to believe that the difference

between the market trading price and the Intraday Indicative Value was substantially and

materially less than it was being represented by Credit Suisse.

        192.   Defendants’ failure to disseminate the correct XIVIV—or, at a minimum, alert the

market that Defendants determined a Market Disruption Event occurred—from 4:09:48 p.m. to



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5:09:04 p.m. on February 5, 2018 was catastrophic for investors. On February 5, 2018, at 4:00

p.m. EST, the regular-hours market for the trading of the XIV closed. At close, the XIV’s last

trading price was $99. Less than 30 minutes later, during the after-hours market, the price per XIV

note had dropped to $70.01. By 4:45 p.m., the price had further dropped to $42.81 per XIV note.

Finally, at 6:28 p.m. the trading price of XIV had declined to a low of $10.16 per note, a drop of

approximately 89.74% from its closing value.

       193.    Further, what appeared to investors as the relative strength of XIV prices in the face

of the doubling of the VIX volatility levels enticed $700 million of new investments. All of those

investors lost 80% to 90% of the money they invested from 4:08 p.m. to 5:09 p.m

       M.      Credit Suisse Scheme Results In Hundreds Of Millions In Profits For It At
               The Expense Of Investors

       194.    In Credit Suisse’s Form 6-K announcing its fiscal results for the quarter ended

March 31, 2018, Credit Suisse stated: “In 1Q18, equity sales and trading revenues of CHF 490

million increased 30% compared to 4Q17, due to more favorable trading conditions, particularly

higher levels of volatility which benefited our derivatives business. We had substantially higher

revenues across flow and structured equity derivatives driven by these more favorable market

conditions[.]” (Emphasis added).17 This was quite a turnaround for the Bank, which had posted

its third consecutive annual loss, and had just reported a 22% decline in the equities asset class the

previous quarter.

       195.    Only after additional non-public information becomes available to Lead Plaintiffs

can an accurate figure of Credit Suisse’s profits be ascertained. However, based on public




17
  https://www.sec.gov/Archives/edgar/data/1053092/000137036818000025/a180425q1-
ex99_1.htm

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information available to Lead Plaintiffs, a very conservative estimate of Credit Suisse’s profits

from XIV is $475 million.

       196.    As of January 26, 2018, Credit Suisse had 10,793,880 XIV notes issued and

outstanding. On January 29, 2018, Credit Suisse filed the January Supplement announcing that it

would be offering up to 16.275 million additional XIV notes to investors. By February 2, 2018,

Credit Suisse had increased the number of its XIV notes issued and outstanding to 14,993,880.

Thus, not even including any shares that may have been redeemed in the interim, in just five trading

days after the filing of the January Supplement, Credit Suisse had increased the number of XIV

notes issued and outstanding by at least 4.2 million notes, or over 38.9%. This, however, may not

represent the full number of XIV notes that Credit Suisse sold after the filing of the January

Supplement, as it does not account for any XIV notes sold by Credit Suisse after February 2, 2018,

including on February 5, 2018 when XIV trading volume soared.

       197.    As noted in the January Supplement, Credit Suisse “expect[s] to receive proceeds

equal to 100% of the issue price to the public of the ETNs we issue and sell after the Inception

Date.” Based on the low and high trading market prices for XIV notes from January 29, 2018

through February 2, 2018, inclusive, Credit Suisse received gross proceeds of approximately

$500,388,000 to $567,210,000 on the 4.2 million XIV notes it sold during this timeframe. The

XIV notes that Credit Suisse offered and sold during this time would ultimately serve as a windfall

to Credit Suisse as it sold the XIV notes at significantly higher market prices than the $5.99 it

ultimately paid upon their redemption. After accounting for the $5.99 per note redemption cost,

Credit Suisse profited in the range of approximately $475 million to $542 million on just the 4.2

million XIV notes it sold in the days before the events of February 5, 2018.




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        198.   Beyond the profits made on the 4.2 million XIV notes, Credit Suisse further

benefited by extinguishing the long-term debt liabilities on its balance sheet it held prior to issuing

notes through the January Supplement for mere pennies on the dollar. Moreover, by extinguishing

the long-term debt of the XIV notes, Credit Suisse was able to capture the difference beyond the

price it received when it sold XIV notes to investors and the redemption value of $5.99 it ultimately

paid.

        N.     The Credit Suisse Defendants Announce An Acceleration Event, Locking In
               Their Profits

        199.   On February 6, 2018, Credit Suisse issued a press release stating that XIV had

experienced an Acceleration Event, and that Credit Suisse would be liquidating XIV:

        Since the intraday indicative value of XIV on February 5, 2018 was equal to or less
        than 20% of the prior day’s closing indicative value, an acceleration event has
        occurred. Credit Suisse expects to deliver an irrevocable call notice with respect to
        the event acceleration of XIV to The Depository Trust Company by no later than
        February 15, 2018. The date of the delivery of the irrevocable call notice, which is
        expected to be February 15, 2018, will constitute the accelerated valuation date,
        subject to postponement due to certain events. The acceleration date for XIV is
        expected to be February 21, 2018, which is three business days after the accelerated
        valuation date. On the acceleration date, investors will receive a cash payment per
        ETN in an amount equal to the closing indicative value of XIV on the accelerated
        valuation date. The last day of trading for XIV is expected to be February 20, 2018.
        As of the date hereof, Credit Suisse will no longer issue new units of XIV ETNs.

        On February 2, 2018, the closing indicative value was USD 108.3681. None of the
        other ETNs offered by Credit Suisse are affected by this announcement.

        200.   The same day, Credit Suisse stated it faced “no material impact” from XIV’s

collapse. Credit Suisse spokesperson Nicole Sharp told CNBC by email: “We are the issuer of

the [XIV] ETN and, having issued it, we hedge the risk. We hedge XIV by trading VIX futures. . . .

The positions constitute part of a portfolio.”18 Credit Suisse continued to maintain, despite its



18
  https://www.cnbc.com/2018/02/07/credit-suisse-defends-controversial-xiv-etn-amid-market-
turmoil.html

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knowledge of XIV’s extraordinary popularity as a long term holding for retail investors, that XIV

“was meant for short-term holding” and that it was marketed exclusively to professional

investors.19

       201.    Pursuant to the announcement of the Acceleration Event, on February 20, 2018,

XIV ceased trading. On the following day, XIV was terminated and redeemed at $5.99 per note.

       202.    Underscoring the temporary nature of the liquidity squeeze engineered by Credit

Suisse on February 5, 2018, the very next trading day, February 6, 2018, short-term VIX futures

prices dropped precipitously, with the SPVXSP closing at $71.78, down 25.95% from its February

5, 2018 close of $96.94.

       O.      Facing Investor Outrage And Government Investigations, The Credit Suisse
               Defendants Actively Attempt To Conceal Their Fraud

       203.    The events of February 5, 2018 shocked the market, with reporters and investors

questioning Credit Suisse as to how XIV could have collapsed so quickly and dramatically, causing

nearly $2 billion in investor losses.

       204.    Further, nearly immediately after XIV’s collapse, the SEC began investigating

Credit Suisse. Specifically, according to The Wall Street Journal, the SEC is currently “examining

the market mayhem, calling Credit Suisse . . . and questioning the bank about [XIV]. . . .

Regulatory officials asked about how the investment’s performance is calculated and whether

retail investors were shareholders[.]”20




19
  Id.
20
  https://www.wsj.com/articles/market-volatility-strikes-exchange-traded-products-alarming-
investors-and-regulators-1518440400?mod=searchresults&page=1&pos=1



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       205.    Then, on February 14, 2018, Bloomberg published an article noting that “[i]t’s clear

many individual investors bought [XIV], and for much longer than a day. It’s also clear they didn’t

understand that they weren’t buying a gun but a live grenade. . . .”21

       206.    Credit Suisse’s response was telling. Defendant Thiam stated: “Really it’s a matter

for regulators whether they need to stop retail investors from investing in [products like XIV].”22

In other words, Credit Suisse knew it was selling a dangerous product that was structured and used

in a manner at odds with Credit Suisse’s characterizations, but saw no problem in profiting at

investors’ expense.

       207.    But not only were the Credit Suisse Defendants callous in the face of devastated

investors, they actively attempted to conceal the fraud through a series of evasive explanations.

On February 14, 2018, for instance, Defendant Thiam stated that Credit Suisse closed XIV because

“there is no prospect of recovery. . . . Once you hit that bottom, the structure of the product means

there is no recovery.”23 But this was patently false. Had Credit Suisse not liquidated XIV, its

value would have stabilized rapidly.        By March 6, 2018, XIV would have been worth

approximately $30.88. Instead, Credit Suisse paid investors $5.99 per share based on XIV’s

Closing Indicative Value on February 15, 2018—80.6% less.

       208.    On February 14, 2018, Defendant Thiam was interviewed by Bloomberg and stated

that, with respect to XIV, the decision to announce an Acceleration Event “was actually to protect

investors. Because the product stopped trading, it was quasi-impossible to price, and we needed




21
   https://www.bloomberg.com/news/articles/2018-02-14/banks-like-credit-suisse-can-t-sell-
grenades-without-blowback
22
   https://www.cnbc.com/2018/03/19/credit-suisse-vix-etn-lawsuits-tidjane-thiam-says-bank-not-
at-fault.html
23
   https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword.

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to give certainty to the market at the market open. So before the morning—and this—we went

through a long process, we don’t make these decisions lightly, there are people involved from

every aspect of the business, from compliance to the front office—and they collectively—I don’t

make those types of decisions—they collectively reached a decision which was in the interest of

investors, which was to close it. But there are quite a few products like that in the market, because

they serve a useful purpose. They allow market participants to manage their risk better.”24

(Emphasis added).

       209.    These assertions, too, were patently false, further supporting Thiam was actively

concealing that the real reason to announce an Acceleration Event was for Credit Suisse to profit

at its investors’ expense. XIV had not “stopped trading.” To the contrary, investors bought

approximately $700 million in XIV notes during aftermarket trading on February 5, 2018. Nor

was XIV “quasi-impossible to price.” Neither Credit Suisse nor Janus offered any explanation for

the freeze in updating XIVIV on February 5, 2018. To the extent the freeze occurred because XIV

became “quasi-impossible to price,” this was due to Credit Suisse’s own actions. In any event, the

liquidity squeeze it engineered rapidly subsided and XIVIV began to update again beginning at

5:09:05 p.m., so Thiam’s claim that Credit Suisse closed XIV on February 6 because it was “quasi-

impossible to price” for an hour on February 5 simply makes no sense.

       210.    Finally, in view of Credit Suisse’s hundreds of millions of dollars in profit and

investors’ $1.8 billion loss, the decision to close XIV was clearly not “in the interest of investors,”

rather it was in Credit Suisse’s interest to announce the Acceleration Event to lock in the lowest

possible redemption value on XIV notes. Had Credit Suisse acted in the “interests of investors,”




24
   https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword

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it could have alerted them of an Acceleration Event as early as 4:09 p.m. on February 5, halted

trading at that time, halted trading as soon as it knew at approximately 4:10 p.m. that XIVIV was

failing to update in real time, notified investors XIVIV was inaccurate, or, alternatively, notified

investors that the Calculation Agents had determined a Market Disruption Event had occurred.

The deceptive nature of Defendant Thiam’s post hoc explanations supports his concealment of the

fraud.

         211.     During the same February 14, 2018 Bloomberg interview, Thiam, alluding to his

three-year restructuring plan, stated that “there will be further cost cuts in the business this

year . . . .”25

         212.     On March 23, 2018, Defendant Thiam was awarded 9.7 million Swiss francs ($10.2

million) in compensation for 2017, “as his strategic shift toward managing money for wealthy

clients showed signs of paying off . . . .”26

         213.     On April 25, 2018, Thiam gave another interview to Bloomberg. He described his

three-year restructuring plan as: “this is the part we love and we want to grow” and “this is the

part we don’t want . . . and we said we will get rid of it, and that’s almost done.”27

         214.     In July 2018, Credit Suisse made good on Thiam’s promise to continue cuts when

it announced the closing of two other VIX-related ETNs, VelocityShares VIX Medium Term ETN

(VIIZ) and VelocityShares Daily 2x VIX Medium Term ETN (TVIZ).28




25
   https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword
26
   https://www.wsj.com/articles/credit-suisse-ceo-tidjane-thiam-was-paid-10-2-million-in-2017-
1521790615
27
   https://www.bloomberg.com/news/articles/2018-04-25/thiam-s-wealth-management-drive-
accelerates-as-new-assets-soar
28
   https://www.bloomberg.com/news/articles/2018-07-23/credit-suisse-closes-five-more-
volatility-oil-exchange-notes

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       P.     Defendants’ Other False And Misleading Statements And Omissions

       215.   In addition to knowingly or recklessly disseminating the false and misleading

Flatline Value as detailed in paragraphs 171-190, Defendants made several other false and

misleading statements and omissions.

       216.   On January 29, 2018, Credit Suisse filed a pricing supplement (No. VLS ETN-

1/A48) (the “January Supplement”) with the SEC pursuant to Rule 424(b)(2) and in conjunction

with (i) the Registration Statement No. 333-218604-02 (“Registration Statement”), (ii) a

prospectus supplement dated June 30, 2017 and (iii) a prospectus dated June 30, 2017

(“Prospectus”) (collectively, the “Offering Documents”), to offer 16,275,000 XIV notes at a

denomination and stated principal amount of $10 each. The Registration Statement was signed by

Defendants Thiam and Mathers.

       217.     The January Supplement states:

       We expect to hedge our obligations relating to the ETNs by purchasing or selling
       short the underlying futures, listed or over-the-counter options, futures contracts,
       swaps, or other derivative instruments relating to the applicable underlying Index,
       the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
       Index, or the underlying futures, or other instruments linked to the applicable
       underlying Index, certain exchange traded notes issued by Credit Suisse, the VIX
       Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
       the underlying futures, and adjust the hedge by, among other things, purchasing or
       selling any of the foregoing, at any time and from time to time, and to unwind the
       hedge by selling any of the foregoing, perhaps on or before the applicable Valuation
       Date. We, our affiliates, or third parties with whom we transact, may also enter into,
       adjust and unwind hedging transactions relating to other securities whose returns
       are linked to the applicable underlying Index. Any of these hedging activities may
       adversely affect the level of the applicable underlying Index — directly or
       indirectly by affecting the price of the underlying futures or listed or over-the-
       counter options, futures contracts, swaps, or other derivative instruments relating
       to the applicable underlying Index, the VIX Index, the S&P 500® Index, the
       component securities of the S&P 500® Index, or the underlying futures — and
       therefore the market value of your ETNs and the amount we will pay on your ETNs
       on the relevant Early Redemption Date, Acceleration Date or the Maturity Date. It
       is possible that we, our affiliates, or third parties with whom we transact could
       receive substantial returns with respect to these hedging activities while the value
       of your ETNs decline or become zero. Any profit in connection with such hedging


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       activities will be in addition to any other compensation that and our affiliates
       receive for the sale of the ETNs, which may create an additional incentive to sell
       the ETNs to you.

       We, our affiliates, or third parties with whom we transact may also engage in
       trading in the underlying futures, or listed or over-the-counter options, futures
       contracts, swaps, or other derivative instruments relating to the applicable
       underlying Index, the VIX Index, the S&P 500® Index, the component securities
       of the S&P 500® Index, or the underlying futures, or instruments whose returns are
       linked to the applicable underlying Index, certain exchange traded notes issued by
       Credit Suisse, or the underlying futures or listed or over-the-counter options, futures
       contracts, swaps, or other derivative instruments relating to the applicable
       underlying Index, the VIX Index, the S&P 500® Index, the component securities
       of the S&P 500® Index, or the underlying futures for our or their proprietary
       accounts, for other accounts under our or their management or to facilitate
       transactions, including block transactions, on behalf of customers. Any of these
       activities could adversely affect the level of the applicable underlying Index —
       directly or indirectly by affecting the price of the underlying futures or listed or
       over-the-counter options, futures contracts, swaps, or other derivative instruments
       relating to the applicable underlying Index, the VIX Index, the S&P 500® Index,
       the component securities of the S&P 500® Index, or the underlying futures — and,
       therefore, the market value of your ETNs and the amount we will pay on your ETNs
       on the relevant Early Redemption Date, Acceleration Date or the Maturity Date.
       We may also issue, and we, our affiliates, or third parties with whom we transact
       may also issue or underwrite, other ETNs or financial or derivative instruments
       with returns linked to changes in the level of the applicable underlying Index or the
       underlying futures or listed or over-the-counter options, futures contracts, swaps,
       or other derivative instruments relating to the applicable underlying Index, the VIX
       Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
       the underlying futures. By introducing competing products into the marketplace in
       this manner, we, our affiliates, or third parties with whom we transact could
       adversely affect the market value of your ETNs and the amount we will pay on your
       ETNs on the relevant Early Redemption Date, Acceleration Date or the Maturity
       Date.

       218.    The foregoing statements in paragraph 217 were false and misleading and omitted

the following material facts. At the time the foregoing statements were made, the Credit Suisse

Defendants knew that during the next VIX spike—which the Credit Suisse Defendants knew was

certain to occur— the Credit Suisse Defendants planned to profit from their hedging and trading

activity in the underlying futures and other instruments by creating a liquidity squeeze in the VIX

futures market that would inflate the value of VIX futures, thereby wiping out the value of XIV



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and triggering an Acceleration Event. At the time the foregoing statements were made, the Credit

Suisse Defendants had designed the product to fail during the next VIX spike by continuing to

issue additional XIV notes despite knowing that such growth would exacerbate liquidity issues in

the VIX futures market known to the Credit Suisse Defendants, and that the Credit Suisse

Defendants would profit from the resulting collapse of XIV by pocketing the difference in the

purchase price of the XIV notes and the redemption value after the Credit Suisse Defendants

announced an Acceleration Event.

       219.    The January Supplement also states:

       There may be conflicts of interest between you, us, the Redemption Agent, and the
       Calculation Agents

       ...

       As noted above, we, our affiliates, or third parties with whom we transact, including
       JHD, may engage in trading activities related to the applicable underlying Index,
       the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
       Index, or the underlying futures or listed or over-the-counter options, futures
       contracts, swaps, or other instruments linked to the applicable underlying Index,
       certain exchange traded notes issued by Credit Suisse, the VIX Index, the S&P
       500® Index, the component securities of the S&P 500® Index, or the underlying
       futures. These trading activities may present a conflict between your interest in
       your ETNs and the interests we, our affiliates, or third parties with whom we
       transact, including JHD, will have in our or their proprietary accounts, in
       facilitating transactions, including block trades, for our or their customers and
       in accounts under our or their management. These trading activities, if they
       influence the level of the applicable underlying Index, could be adverse to your
       interests as a beneficial owner of your ETNs.

(Emphasis added).

       220.    The bold and italicized statements in paragraph 219 were false and misleading and

omitted material facts concerning the conflict between XIV investors’ interests and those of Credit

Suisse. At the time the foregoing statements were made, the Credit Suisse Defendants knew with

certainty that their trading activities in VIX futures presented a conflict of interest in XIV that was




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adverse to the interests of XIV’s investors, because the Credit Suisse Defendants knew: (1) that

during the next VIX spike—which the Credit Suisse Defendants knew was certain to occur—the

Credit Suisse Defendants planned to profit from their hedging and trading activity in the

underlying futures and other instruments by creating a liquidity squeeze in the VIX futures market

that would inflate the value of VIX futures, thereby wiping out the value of XIV and triggering an

Acceleration Event.; and (2) the Credit Suisse Defendants had designed the product to fail during

the next VIX spike by continuing to issue additional XIV notes despite knowing that such growth

would exacerbate known liquidity issues in the VIX futures market, and that the Credit Suisse

Defendants would profit from the resulting collapse of XIV by pocketing the difference in the

purchase price of the XIV notes and the redemption value after the Credit Suisse Defendants

announced an Acceleration Event.

       221.    The January Supplement also states the following regarding XIV’s Intraday

Indicative Value

       The “Intraday Indicative Value” for each series of ETNs is designed to
       approximate the economic value of such series of ETNs at a given time. It is
       calculated using the same formula as the Closing Indicative Value, except that
       instead of using the closing level of the applicable underlying Index, the calculation
       is based on the most recent intraday level of such Index at the particular time. The
       Intraday Indicative Value of the ETNs will be calculated every 15 seconds on
       each Index Business Day during the period when a Market Disruption Event has
       not occurred or is not continuing and disseminated over the Consolidated Tape,
       or other major market data vendor.

       ...

       The value of each Index will be published by Bloomberg in real time and after the
       close of trading on each Index Business Day . . . The intraday level of each of the
       Indices is calculated in real time by S&P on each S&P 500 VIX Futures Business
       Day . . . applying real time prices of the relevant VIX futures contracts.
       ...

       Investors can compare the trading price of the ETNs (if such concurrent price is
       available) against the Intraday Indicative Value to determine whether the ETNs



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       are trading in the secondary market at a premium or a discount to the economic
       value of the ETNs at any given time.

(Emphasis added).

       222.    The Credit Suisse Defendants knew or recklessly disregarded that the bold and

italicized statements in paragraph 221 regarding XIV’s Intraday Indicative Value approximating

the economic value of XIV, being calculated every 15 seconds based on real-time prices of the

relevant VIX futures contracts, and investors’ ability to compare the trading price of XIV against

the Intraday Indicative Value at any given time became false and misleading and omitted material

facts when the Calculation Agents failed to update XIV’s Intraday Indicative Value between

4:09:48 p.m. and 5:09:04 p.m. on February 5, 2018. During this time, the Credit Suisse Defendants

had a duty to update the statements rendered false and misleading and Janus had a duty to publish

accurate and timely Intraday Indicative Values.

       223.    The January Supplement further states:

       Daily rebalancing of the Indices may impact trading in the underlying futures
       contracts

       The daily rebalancing of the futures contracts underlying the Indices may cause the
       Issuer, our affiliates, or third parties with whom we transact to adjust their hedges
       accordingly. The trading activity associated with these hedging transactions will
       contribute to the trading volume of the underlying futures contracts and may
       adversely affect the market price of such underlying futures contracts and in turn
       the level of the applicable underlying Index.

(Emphasis added).

       224.    The January Supplement additionally states:

       Daily rebalancing of the leverage amount may impact trading in the
       underlying futures contracts

       The daily rebalancing of the leverage amount of each ETN back to its target may
       cause us, our affiliates, or third parties with whom we transact to adjust their hedges
       accordingly. The trading activity associated with these hedging transactions will


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       contribute to the trading volume of the underlying futures and may adversely
       affect the market price of such underlying futures.

(Emphasis added).

       225.    The foregoing statements in paragraphs 223 and 224 were false and misleading and

omitted material facts concerning the known effect of Credit Suisse’s hedging transactions during

the next volatility spike. At the time the foregoing statements were made, the Credit Suisse

Defendants knew that during the next VIX spike—which the Credit Suisse Defendants knew was

certain to occur— the Credit Suisse Defendants planned to hedge their significant exposure in XIV

notes, resulting in a liquidity squeeze in the VIX futures market. The Credit Suisse Defendants

also knew that this liquidity squeeze would consequently increase the value of the SPVXSP,

resulting in significant losses to investors by not only wiping out the value of the XIV notes, but

by also causing an Acceleration Event. Furthermore, at the time the foregoing statements were

made, the Credit Suisse Defendants knew or recklessly disregarded that XIV would fail during the

next VIX spike and that their continued issuance of additional XIV notes would contribute to

XIV’s failure by exacerbating liquidity issues in the VIX futures. By failing to disclose to investors

the certainty of these events upon the next volatility spike, these statements were rendered false

and/or materially misleading.

       226.    Moreover, the January Supplement states:

                 SUPPLEMENTAL USE OF PROCEEDS AND HEDGING
               We intend to use the net proceeds from this offering for our general
       corporate purposes, which may include the refinancing of our existing indebtedness
       outside Switzerland. We may also use some or all of the net proceeds from this
       offering to hedge our obligations under the ETNs of the applicable series.
               One or more of our affiliates before and following the issuance of the ETNs
       of any series may acquire or dispose of the futures contracts underlying the
       applicable Index, or listed or over-the-counter options contracts in, or other
       derivatives or synthetic instruments related to, the applicable underlying Index or
       the S&P 500® Index or the VIX Index to hedge our obligations under the ETNs of
       such series. In the course of pursuing such a hedging strategy, the price at which


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       such positions may be acquired or disposed of may be a factor in determining the
       levels of the applicable underlying Index. Although we and our affiliates have no
       reason to believe that our or their hedging activities will have a material impact
       on the level of the applicable underlying Index, there can be no assurance that
       the level of the applicable underlying Index will not be affected.

(Emphasis added).

       227.    The foregoing bold and italicized statements above in paragraph 226 were false and

misleading because the Credit Suisse Defendants knew that, during the next VIX volatility spike,

their hedging activities would have a material impact on the SPVXSP. Specifically, the Credit

Suisse Defendants knew that during the next VIX spike—which the Credit Suisse Defendants

knew was certain to occur—they planned to hedge Credit Suisse’s significant exposure in XIV

notes, resulting in a liquidity squeeze in the VIX futures market. The Credit Suisse Defendants

also knew that this liquidity squeeze would consequently inflate the value of VIX futures, and

increase the value of the SPVXSP, resulting in significant losses to investors by not only wiping

out the value of the XIV notes due to their innate inverse nature, but by also causing an

Acceleration Event.

       228.    Furthermore, at the time the foregoing statements were made, the Credit Suisse

Defendants knew or recklessly disregarded that XIV would fail during the next VIX spike and that

their continued issuance of additional XIV notes would contribute to XIV’s failure by exacerbating

liquidity issues in the VIX futures. By failing to disclose to investors the certainty of these events

upon a volatility spike, these statements were rendered false and/or materially misleading.

Furthermore, the Credit Suisse Defendants’ statements concerning their opinions and beliefs that

they “have no reason to believe that their hedging activities will have a material impact” were

materially false and misleading as they were not honestly believed, lacked a reasonable basis, and




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misrepresented and failed to disclose the known or recklessly disregarded aforementioned adverse

effects of Credit Suisse’s hedging activities during the next volatility spike.

          Q.     Additional Allegations of Defendants’ Scienter

          229.   The Credit Suisse Defendants, Janus, and JIC all knew or recklessly disregarded

that the Flatline Value was materially false and/or misleading within seconds after its issuance.

          230.   Credit Suisse’s entity, CSI, and Janus’s entity, JIC, were the Calculation Agents

responsible for calculating and disseminating the Intraday Indicative Values and determining

whether a Market Disruption Event was occurring or had occurred. As such, they were not only

intimately familiar with the calculation of the Intraday Indicative Values, but were also

instrumental in all parts of XIV’s functioning including the calculation and dissemination of these

values.

          231.   The XIV was a product created and marketed by Janus. As previously discussed,

Janus through its entities, JIC and JHD, was intimately involved in marketing XIV, placing XIV

notes, and undertaking the duties and responsibilities of the Calculation Agents. As such, Janus

was intimately aware of all aspects of XIV.

          232.   Given that the January Supplement states that “JIC or its affiliate is responsible for

computing and disseminating the Intraday Indicative Value,” JIC knew that at the time the

Calculation Agents stopped updating the Intraday Indicative Value that it would be materially false

and/or misleading at each 15-second interval thereafter until an accurate value was disseminated.

          233.   Janus, by owning and controlling JIC, was in possession of real-time information

concerning the inputs necessary to compute the Intraday Indicative Value. Given its role as a

Calculation Agent, JIC had access to this information and knew, or at minimum, recklessly

disregarded, that the Flatline Value was false. As the owner and controlling entity of JIC, Janus

knew or recklessly disregarded the falsity or misleading nature of the Flatline Value.


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       234.     Moreover, the January Supplement states that other than limited circumstances, all

decisions would be made jointly by the Calculation Agents. As stated in the January Supplement:

       JIC will have the sole ability to calculate and disseminate the Closing Indicative
       Value, make determinations regarding an Index Business Day, and determinations
       of splits and reverse splits. All other determinations will be made by the
       Calculation Agents jointly.

(Emphasis added).

       235.     As such, CIS and JIC would be involved in any decision not to update the Intraday

Indicative Value or to make the determination that a Market Disruption Event was occurring or

had occurred.

       236.     As entities owned and operated by Credit Suisse and Janus, respectively, CIS and

JIC knew or recklessly disregarded that the Intraday Indicative Value was not being updated the

materially false and / or misleading Flatline Value.

       237.     Additionally, Credit Suisse is a sophisticated global financial institution that issued

XIV, and was familiar with all aspects of XIV. This familiarity is further established by the content

of the January Supplement.

       238.     In the January Supplement, Credit Suisse repeatedly stated that it may hedge its

exposure to XIV. Notably and importantly, Credit Suisse was not “materially impacted” by the

events of February 5, 2018, and actually profited from its positions. Given that investors lost

significant amounts of money during the time the Intraday Indicative Value was not updating, the

fact that Credit Suisse profited from the same events indicates that Credit Suisse knew or recklessly

disregarded that the Flatline Value issued on behalf of its XIV was false 15 seconds immediately

after its issuance, and was false at each 15-second interval until the Intraday Indicative Value

began updating at 5:09:05 p.m.




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       239.    Moreover, Credit Suisse, as alleged herein, was actively trading in the after-hours

market the very same futures that impacted the SPVXSP. Given Credit Suisse’s own trades and

the information that it receives as a sophisticated financial institution and market participant, it

knew or recklessly disregarded the falsity of the Flatline Value.

       240.    Specifically, Credit Suisse knew of the extreme departure in volatility on February

5, 2018. Given volatility’s import to XIV, its hedging positions, and its other investments and

books, Credit Suisse was closely following the volatility in the market and the financial

instruments derived therefrom. Furthermore, Credit Suisse was closely tracking its own liabilities

and hedges related to XIV as the events transpired throughout the trading day and in afterhours

trading. Simply put, even if Credit Suisse did not know that the Flatline Value being disseminated

in the market was false and/or misleading as a result of it being quoted as the current Intraday

Indicative Value posted in the market, Credit Suisse recklessly disregarded this information.

       241.    Moreover, Credit Suisse, as the owner of its affiliate and major subsidiary, CIS,

was receiving real-time information concerning the inputs necessary to compute the Intraday

Indicative Value. Given its role as a Calculation Agent, CIS had access to this information and

knew, or at minimum, recklessly disregarded that the Flatline Value was false. Even if it was JIC

that ran the Flatline Value calculation and issued the information to the market, as a Calculation

Agent, CIS would have had access to the relevant underlying financial information and would rely

upon it making determinations as a Calculation Agent, such as if a Market Disruption Event was

occurring or had occurred. Because both Calculation Agents would have to make the determination

to stop updating the Intraday Indicative Value and to leave the Flatline Value posted, each of the

Calculation Agents made the materially false and/or misleading Flatline Value statement at each




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15-second interval after its initial posting. Therefore, at a minimum, Credit Suisse and CIS

recklessly disregarded that the Flatline Value was materially false and/or misleading.

       242.    Alternatively, to the extent the Calculation Agents determined that a Market

Disruption Event occurred or was continuing, as discussed above, the omission of this language

rendered the Flatline Value misleading.      As stated in the January Supplement, it was the

Calculation Agents’ role to determine if such a Market Disruption Event occurred. As stated in

the January Supplement, “The Calculation Agents for your ETNs will have discretion in making

various determinations that affect your ETNs, including . . . the occurrence and effects of an

Acceleration Event and the existence and effects of Market Disruption Events.” Thus, if the

Intraday Indicative Value stopped updating because the Calculation Agents jointly determined a

Market Disruption Event was occurring, the Calculation Agents knew and/or recklessly

disregarded that the Flatline Value was materially false and/or misleading every 15 seconds that it

was posted as the current value with no disclosure to the market that a Market Disruption Event

was occurring or, alternatively, that the Flatline Value should not be relied upon. JIC, CIS, Credit

Suisse and Janus each knew or recklessly disregarded that the Flatline Value was materially false

and/or misleading, and are therefore liable for such misstatements.

       243.    The Credit Suisse Defendants also knew, or at the very least recklessly disregarded,

that the statements set forth above in the January Supplement were materially false and/or

misleading.

       244.    As members of the CARMC, Defendants Thiam and Mathers knew of the previous

liquidity issues in the end-of-day VIX futures market after sharp VIX spikes. Defendant Mathers,

who has been CFO, and thus on the CARMC and head of the VARMC, since 2010, specifically

had knowledge of, or at the very least recklessly disregarded, the liquidity issues arising during




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the August 2011, August 2015, and June 2016 VIX spikes. Defendant Thiam, who has been CEO

since July 1, 2015, specifically had knowledge of, or at the very least recklessly disregarded, the

liquidity issues arising during the August 2015 and June 2016 VIX spikes.

       245.    Both Thiam and Mathers, by virtue of their positions as CEO and CFO,

respectively, knew (1) of the July 2016 Announcement regarding Credit Suisse’s ability to demand

swaps in exchange for sales of XIV notes to meet its hedging strategy, and (2) that the reason for

the July 2016 Announcement was because of the liquidity issues experienced during the previous

VIX spikes. Further, Thiam and Mathers knew of the July 2016 Announcement and the reasons

for the announcement by virtue of their roles on the CARMC, which specifically was tasked with

recommending risk limits for Credit Suisse and allocating divisional risk limits for the asset class

containing XIV.

       246.    By virtue of their roles on the CARMC, Defendants Thiam and Mathers also knew,

or at the very least recklessly disregarded, that XIV had grown far too large to be adequately

hedged by the underlying VIX futures market, and that Credit Suisse’s hedging activities during

the next VIX spike would cause XIV to collapse. According to its 2016 Annual Report, Credit

Suisse “estimate[d] losses associated with unusually severe market movements,” “including

stressed VaR, position risk and scenario analysis.” As head of the VARMC, Defendant Mathers

specifically knew, or at least recklessly disregarded, that XIV’s VaR exceeded the maximum VaR

for Credit Suisse’s entire equities asset class.      As the CEO of Credit Suisse, Thiam was

immediately notified of any breach of risk limits.

       247.    Thiam’s response to nearly $2 billion in investor losses further supports his scienter.

Defendant Thiam stated: “Really it’s a matter for regulators whether they need to stop retail




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investors from investing in [products like XIV].”29 In other words, Thiam knew he was selling a

dangerous product that was structured and being used in a manner at odds with Credit Suisse’s

characterizations, but saw no problem in profiting at investors’ expense.

       248.    Indeed, Thiam actively attempted to conceal the fraud through a series of evasive

explanations. On February 14, 2018, Defendant Thiam stated that Credit Suisse closed XIV

because “there is no prospect of recovery. . . . Once you hit that bottom, the structure of the

product means there is no recovery.”30 But this was patently false. Had Credit Suisse not

liquidated XIV, its value would have stabilized rapidly. By March 6, 2018, XIV would have been

worth approximately $30.88. Instead, Credit Suisse paid investors $5.99 per share based on XIV’s

Closing Indicative Value on February 15, 2018—80.6% less.

       249.    On February 14, 2018, Defendant Thiam was interviewed by Bloomberg, and stated

that, with respect to XIV, the decision to announce an Acceleration Event “was actually to protect

investors. The product stopped trading, it was quasi-impossible to price, and we needed to give

certainty to the market at the market open. So before the morning—and we went through a long

process, we don’t make these decisions lightly, there are people involved from every aspect of the

business, from compliance to the front office—and they collectively—I don’t make these types of

decisions—they collectively reached a decision which was in the interest of investors, which was

to close it. But there are quite a few products like that in the market, because they serve a useful

purpose. They allow market participants to manage their risk better.”31




29
   https://www.cnbc.com/2018/03/19/credit-suisse-vix-etn-lawsuits-tidjane-thiam-says-bank-not-
at-fault.html
30
   https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword.
31
   Id.

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       250.    These assertions, too, were patently false, further supporting Thiam was actively

concealing that the real reason to announce an Acceleration Event was for Credit Suisse to profit

at its investors’ expense. XIV had not “stopped trading.” To the contrary, investors bought

approximately $700 million in XIV notes during aftermarket trading on February 5, 2018. Nor

was XIV “quasi-impossible to price.” Neither Credit Suisse nor Janus offered any explanation for

the freeze in updating XIVIV on February 5, 2018. To the extent the freeze occurred because XIV

became “quasi-impossible to price,” this was due to Credit Suisse’s own actions. In any event, the

liquidity squeeze it engineered rapidly subsided and XIVIV began to update again beginning at

5:09:05 p.m., so Thiam’s claim that Credit Suisse closed XIV on February 6 because it was “quasi-

impossible to price” for an hour on February 5 simply makes no sense.

       251.    Finally, in view of Credit Suisse’s hundreds of millions in profit and investors’ $1.8

billion loss, the decision to close XIV was clearly not “in the interest of investors,” but rather it

was in Credit Suisse’s interest to announce the Acceleration Event to lock in the lowest possible

redemption value on XIV notes. Had Credit Suisse acted in the “interests of investors,” it could

have alerted them of an Acceleration Event as early as 4:09:48 p.m. on February 5, halted trading

at that time, halted trading as soon as it knew at 4:10 p.m. that XIVIV was failing to update in real

time, notified investors XIVIV was inaccurate, or, alternatively, notified investors that the

Calculation Agents had determined a Market Disruption Event had occurred. The deceptive nature

of Defendant Thiam’s post hoc explanations supports his concealment of the fraud.




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         252.     During the same February 14, 2018 Bloomberg interview, Thiam, alluding to his

three-year restructuring plan, stated that “there will be further cost cuts in the business this

year . . . .”32

         253.     On March 23, 2018, Defendant Thiam was awarded 9.7 million Swiss francs ($10.2

million) in compensation for 2017, “as his strategic shift toward managing money for wealthy

clients showed signs of paying off . . . .”33

         254.     On April 25, 2018, Thiam gave another interview to Bloomberg. He described his

three-year restructuring plan as: “this is the part we love and we want to grow” and “this is the

part we don’t want . . . and we said we will get rid of it, and that’s almost done.”

         255.     In July 2018, Credit Suisse made good on Thiam’s promise to continue cuts when

it announced the closing of two other VIX-related ETNs, VelocityShares VIX Medium Term ETN

(VIIZ) and VelocityShares Daily 2x VIX Medium Term ETN (TVIZ).34

         256.     Notably, the frauds alleged herein are consistent with Credit Suisse’s long history

of placing its own profits ahead of its investors. On January 28, 2017, the Department of Justice

(“DOJ”) announced a $5.28 billion settlement with Credit Suisse stemming from its sales of

residential mortgage-backed securities (“RMBS”).           The DOJ charged that Credit Suisse

disregarded its own risk controls and procedures so it could sell, at a significant profit, investments

it knew would fail. Principal Deputy Associate Attorney General Bill Baer stated that “Credit

Suisse claimed its mortgage backed securities were sound, but in the settlement announced today




32
   https://www.bloomberg.com/news/articles/2018-02-14/credit-suisse-s-thiam-warns-volatility-
is-a-double-edged-sword
33
   https://www.wsj.com/articles/credit-suisse-ceo-tidjane-thiam-was-paid-10-2-million-in-2017-
1521790615
34
   https://www.bloomberg.com/news/articles/2018-07-23/credit-suisse-closes-five-more-
volatility-oil-exchange-notes

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the bank concedes that it knew it was peddling investments containing loans that were likely to

fail[.]” More recently, in November 2017, the New York Department of Financial Services

announced it had fined Credit Suisse $135 million for its conduct in the foreign exchange business,

in which Credit Suisse undertook efforts “directed at maximizing profits or minimizing losses in

Credit Suisse’s trading book, to the detriment of customers and a competitive marketplace[.]” The

consent order is replete with evidence showing that Credit Suisse executives not only knew of, but

promoted front-running and the rejection of clients’ orders so that Credit Suisse could profit to the

detriment of its investors.

         R.     Loss Causation And Economic Loss

         257.   During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated and/or maintained the price of

XIV notes, and operated as a fraud or deceit on Class Period purchasers of XIV notes by failing to

disclose and misrepresenting the adverse facts detailed herein.             As Defendants’ prior

misrepresentations, omissions, and fraudulent conduct were disclosed and became apparent to the

market, the price of XIV declined significantly as the prior artificial inflation came out of XIV’s

price.

         258.   As a result of their purchases of XIV notes during the Class Period, Lead Plaintiffs

and the other Class members suffered economic loss, i.e. damages, under the federal securities

laws.

         259.   By concealing from investors the adverse facts detailed herein, Defendants

presented a misleading picture of the Bank’s interests in, and plans for, XIV. When the truth

about XIV was revealed to the market, the price of XIV declined significantly. This decline

removed the inflation from the price of XIV securities, causing real economic loss to investors

who had purchased XIV notes during the Class Period.


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         260.   The economic loss, i.e. damages, suffered by Lead Plaintiffs and the other

Exchange Act Class members was a direct result of Defendants’ fraudulent scheme to artificially

inflate and/or maintain the price of XIV and the subsequent decline in the value of the notes when

Defendants’ prior misrepresentations and other fraudulent conduct were revealed.

         261.   Furthermore, as alleged herein, during the Class Period, the Credit Suisse

Defendants engaged in practices intended to mislead investors by artificially affecting the prices

of XIV notes. The Credit Suisse Defendants employed devices, schemes, and artifices to defraud,

and/or engaged in acts, practices, and a course of business which operated as a fraud and deceit

upon the purchasers of XIV notes during the Class Period.

         262.   Lead Plaintiffs and the Exchange Act Class have suffered damages from the Credit

Suisse Defendants’ manipulative acts in that, in reliance on an assumption of an efficient market

free of manipulation, they purchased XIV notes. Lead Plaintiffs and the Exchange Act Class

would not have purchased XIV notes at the prices they paid, or at all, if they had been aware of

the Credit Suisse Defendants’ manipulative conduct which artificially affected the prices of XIV

notes.

         263.   As a direct and proximate result of Defendants’ wrongful conduct, Lead Plaintiffs

and the other members of the Exchange Act Class suffered damages in connection with their

purchases of XIV notes during the Class Period.

         S.     Applicability Of Presumption Of Reliance—Fraud On The Market Doctrine
                And Affiliated Ute Allegations

         264.   Lead Plaintiffs are entitled to a presumption of reliance under Affiliated Ute

Citizens of Utah v. U.S., 406 U.S. 128 (1972), because the claims asserted herein against

Defendants are predicated in part upon material omissions of fact that Defendants had a duty to

disclose.



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       265.    In the alternative, Lead Plaintiffs are entitled to a presumption of reliance on

Defendants’ material misrepresentations and omissions pursuant to the fraud-on-the-market

doctrine because, at all relevant times, the market for XIV notes was an efficient market for the

following reasons, among others:

                   a. XIV notes actively traded on the NASDAQ, a highly efficient, electronic
                      stock market;

                   b. As a regulated issuer, Credit Suisse filed periodic public reports with
                      NASDAQ;

                   c. Credit Suisse regularly communicated with public investors via established
                      market communication mechanisms, including regular disseminations of
                      press releases on the national circuits of major newswire services and other
                      wide-ranging public disclosures, such as communications with the financial
                      press and other similar reporting services; and

                   d. Credit Suisse and XIV were followed by securities analysts employed by
                      major brokerage firms who wrote reports which were distributed to the sales
                      force and certain customers of their respective brokerage firms. Each of
                      these reports was publicly available and entered the public marketplace.

       T.      No Safe Harbor

       266.    The statutory safe harbor applicable to forward-looking statements under certain

circumstances does not apply to any of the false and misleading statements pled in this

Consolidated Complaint.

       267.    Either the statements complained of herein were not forward-looking statements,

but rather were historical statements or statements of purportedly current facts and conditions at

the time the statements were made, or to the extent there were any forward-looking statements,

Credit Suisse’s verbal “Safe Harbor” warnings accompanying its oral forward-looking statements

issued during the Class Period were ineffective to shield those statements from liability.

       268.    To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, those statements were not accompanied by meaningful cautionary



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language identifying important facts that could cause actual results to differ materially from those

in the statements.

          269.   To the extent that any of the false and misleading statements alleged herein can be

construed as forward-looking, Defendants are liable for those false or misleading statements

because, at the time each such statement was made, the speaker knew the forward-looking

statement was false or misleading, and the forward-looking statement was authorized and/or

approved by an executive officer of Credit Suisse who knew that the forward-looking statement

was false. None of the historic or present tense statements made by Defendants were assumptions

underlying or relating to any plan, projection, or statement of future economic performance, as

they were not stated to be such assumptions underlying or relating to any projection or statement

of future economic performance when made, nor were any of the projections or forecasts made by

Defendants expressly related to, or stated to be dependent on, those historic or present tense

statements when made.

          U.     Claims For Relief Under The Exchange Act

                                          COUNT ONE
                       Violation of Section 10(b) of the Exchange Act and
                            Rule 10b-5(b) Promulgated Thereunder
                     (Against the Credit Suisse Defendants, Janus, and JIC)

          270.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

          271.   During the Class Period, the Credit Suisse Defendants, Janus, and JIC made, had

authority over, or controlled the materially false and misleading statements specified above, which

they knew or deliberately disregarded were misleading, in that they contained misrepresentations

and failed to disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.



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          272.   The Credit Suisse Defendants, Janus, and JIC made untrue statements of material

fact and/or omitted to state material facts necessary to make the statements not misleading

          273.   Lead Plaintiffs and the Exchange Act Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated prices for XIV notes. Lead

Plaintiffs and the Exchange Act Class would not have purchased XIV notes at the prices they paid,

or at all, if they had been aware that the market prices had been artificially and falsely inflated by

the Credit Suisse Defendants’, Janus’s, and JIC’s misleading statements.

          274.   As a direct and proximate result of the Credit Suisse Defendants’, Janus’s, and JIC’s

wrongful conduct, Lead Plaintiffs and the other members of the Exchange Act Class suffered

damages in connection with their purchases of XIV notes during the Class Period.

                                          COUNT TWO
                       Violation of Section 10(b) of the Exchange Act and
                      Rules 10b-5(a) and 10b-5(c) Promulgated Thereunder
                             (Against the Credit Suisse Defendants)

          275.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

          276.   During the Class Period, the Credit Suisse Defendants engaged in conduct intended

to mislead investors by artificially affecting the price of XIV notes. Credit Suisse and the

Individual Defendants employed devices, schemes, and artifices to defraud, and/or engaged in acts,

practices, and a course of business which operated as a fraud and deceit upon the purchasers of

XIV notes during the Class Period.

          277.   Lead Plaintiffs and the Exchange Act Class have suffered damages from the Credit

Suisse Defendants’ manipulative acts in that, in reliance on an assumption of an efficient market

free of manipulation, they purchased XIV notes. Lead Plaintiffs and the Exchange Act Class

would not have purchased XIV notes at the prices they paid, or at all, if they had been aware of



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the Credit Suisse Defendants’ manipulative conduct which artificially affected the prices of XIV

notes.

          278.   As a direct and proximate result of the Credit Suisse Defendants’ wrongful conduct,

Lead Plaintiffs and the other members of the Exchange Act Class suffered damages in connection

with their purchases of XIV notes during the Class Period.

                                         COUNT THREE
                          Violation of Section 20(a) of the Exchange Act
                               (Against the Individual Defendants)

          279.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

          280.   The Individual Defendants acted as controlling persons of Credit Suisse and CSI

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By reason of their

positions as officers of Credit Suisse and CSI and their culpable participation, as alleged above,

the Individual Defendants had the power and authority to cause Credit Suisse and CSI to engage

in the wrongful conduct complained of herein.

          281.   By reason of such conduct, the Individual Defendants are liable pursuant to Section

20(a) of the Exchange Act.

                                         COUNT FOUR
                          Violation of Section 20(a) of the Exchange Act
                                (Against Credit Suisse and Janus)

          282.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

          283.   Credit Suisse and Janus acted as controlling persons of CSI and JIC, respectively,

within the meaning of Section 20(a) of the Exchange Act as alleged herein. By reason of their

ownership of CSI and JIC and their culpable participation as alleged above, Credit Suisse and




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Janus had the power and authority to cause CSI and JIC to engage in the wrongful conduct

complained of herein.

          284.   By reason of such conduct, Credit Suisse and Janus are liable pursuant to Section

20(a) of the Exchange Act.

                                         COUNT FIVE
                        Violation of Section 9(a)(4) of the Exchange Act
                     (Against the Credit Suisse Defendants, Janus, and JIC)

          285.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

herein.

          286.   During the Class Period, the Credit Suisse Defendants, Janus, and JIC made, had

authority over or controlled the materially false and misleading statements specified above, which

they knew or deliberately disregarded were misleading in that they contained misrepresentations

and failed to disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

          287.   The Credit Suisse Defendants, Janus, and JIC made untrue statements of material

fact and/or omitted to state material facts necessary to make the statements not misleading

          288.   Lead Plaintiffs and the Exchange Act Class have suffered damages in that, in

reliance on the integrity of the market, they paid artificially inflated prices for XIV notes. Lead

Plaintiffs and the Exchange Act Class would not have purchased XIV notes at the prices they paid,

or at all, if they had been aware that the market prices had been artificially and falsely inflated by

the Credit Suisse Defendants’, Janus’s, and JIC’s misleading statements.

          289.   As a direct and proximate result of the Credit Suisse Defendants’, Janus’s, and JIC’s

wrongful conduct, Lead Plaintiffs and the other members of the Exchange Act Class suffered

damages in connection with their purchases of XIV notes during the Class Period.




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                                                 COUNT SIX
                                 Violation of Section 9(f) of the Exchange Act
                                           (Against All Defendants)

                290.   Lead Plaintiffs repeat and re-allege the above paragraphs as though fully set forth

      herein.

                291.   During the Class Period, all Defendants willfully participated in the Credit Suisse

      Defendants’, Janus’s, and JIC’s violation of Section 9(a) of the Exchange Act. All Defendants

      willfully participated in the Credit Suisse Defendants’, Janus’s, and JIC’s making of, or control

      over, untrue statements of material fact and/or omissions to state material facts necessary to make

      the statements not misleading

                292.   Lead Plaintiffs and the Exchange Act Class have suffered damages in that, in

      reliance on the integrity of the market, they paid artificially inflated prices for XIV notes. Lead

      Plaintiffs and the Exchange Act Class would not have purchased XIV notes at the prices they paid,

      or at all, if they had been aware that the market prices had been artificially and falsely inflated by

      the Credit Suisse Defendants’, Janus’s, and JIC’s misleading statements.

                293.   As a direct and proximate result of Defendants’ willful participation in the

      foregoing wrongful conduct, Lead Plaintiffs and the other members of the Exchange Act Class

      suffered damages in connection with their purchases of XIV notes during the Class Period.

VI.             SECURITIES ACT ALLEGATIONS

                294.   In the allegations and claims set forth in this part of the Consolidated Complaint,

      Lead Plaintiffs assert a series of strict liability and negligence claims against Defendants pursuant

      to the Securities Act on behalf of themselves and the Securities Act Class (as defined in ¶ 42).

                295.   Lead Plaintiffs’ Securities Act claims are not based on any allegations of knowing

      or reckless misconduct by Defendants. Lead Plaintiffs’ Securities Act claims do not allege, and




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do not sound in, fraud, and Lead Plaintiffs specifically disclaim any reference to or reliance upon

allegations of fraud in these non-fraud claims and allegations.

       A.      The Offering Documents

       296.    During the Class Period, Credit Suisse conducted one securities offering on January

29, 2018, when it filed a pricing supplement (No. VLS ETN-1/A48) (the “January Supplement”)

with the SEC pursuant to Rule 424(b)(2) and in conjunction with (i) the Registration Statement

No. 333-218604-02 (“Registration Statement”), (ii) a prospectus supplement dated June 30, 2017,

and (iii) a prospectus dated June 30, 2017 (“Prospectus”) (collectively, the “Offering Documents”),

to offer 16,275,000 XIV notes at a denomination and stated principal amount of $10 each.

       297.    The Registration Statement was signed by, among others, the Individual

Defendants.

       298.    Janus, by owning and controlling JIC and JHD, had significant control over the

functioning of XIV and possessed significant rights concerning XIV, including causing Credit

Suisse to accelerate the redemption of XIV notes. JHD marketed and placed XIV notes, and JIC

was also instrumental to the daily operations of XIV, including active involvement in crucial

matters such as (i) determinations concerning the calculation of various values related to the XIV

notes, (ii) determinations concerning the underlying inputs that impacted the calculations of these

values; (iii) the ability to cause an acceleration event to redeem the XIV notes earlier than their

stated maturity date, and (iv) designating when a Market Disruption Event occurred. By virtue of

Janus’s significant power and control, Janus disseminated or approved the materially false and

misleading statements specified below, which contained misrepresentations and failed to disclose

material facts necessary to in order to make the statements made, in light of the circumstances

under which they were made, not misleading.




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  B.     False And Misleading Statements In The Offering Documents

  299.   The January Supplement states:

  We expect to hedge our obligations relating to the ETNs by purchasing or selling
  short the underlying futures, listed or over-the-counter options, futures contracts,
  swaps, or other derivative instruments relating to the applicable underlying Index,
  the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
  Index, or the underlying futures, or other instruments linked to the applicable
  underlying Index, certain exchange traded notes issued by Credit Suisse, the VIX
  Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
  the underlying futures, and adjust the hedge by, among other things, purchasing or
  selling any of the foregoing, at any time and from time to time, and to unwind the
  hedge by selling any of the foregoing, perhaps on or before the applicable Valuation
  Date. We, our affiliates, or third parties with whom we transact, may also enter into,
  adjust and unwind hedging transactions relating to other securities whose returns
  are linked to the applicable underlying Index. Any of these hedging activities may
  adversely affect the level of the applicable underlying Index — directly or
  indirectly by affecting the price of the underlying futures or listed or over-the-
  counter options, futures contracts, swaps, or other derivative instruments relating
  to the applicable underlying Index, the VIX Index, the S&P 500® Index, the
  component securities of the S&P 500® Index, or the underlying futures — and
  therefore the market value of your ETNs and the amount we will pay on your ETNs
  on the relevant Early Redemption Date, Acceleration Date or the Maturity Date. It
  is possible that we, our affiliates, or third parties with whom we transact could
  receive substantial returns with respect to these hedging activities while the value
  of your ETNs decline or become zero. Any profit in connection with such hedging
  activities will be in addition to any other compensation that and our affiliates
  receive for the sale of the ETNs, which may create an additional incentive to sell
  the ETNs to you.

  We, our affiliates, or third parties with whom we transact may also engage in
  trading in the underlying futures, or listed or over-the-counter options, futures
  contracts, swaps, or other derivative instruments relating to the applicable
  underlying Index, the VIX Index, the S&P 500® Index, the component securities
  of the S&P 500® Index, or the underlying futures, or instruments whose returns are
  linked to the applicable underlying Index, certain exchange traded notes issued by
  Credit Suisse, or the underlying futures or listed or over-the-counter options, futures
  contracts, swaps, or other derivative instruments relating to the applicable
  underlying Index, the VIX Index, the S&P 500® Index, the component securities
  of the S&P 500® Index, or the underlying futures for our or their proprietary
  accounts, for other accounts under our or their management or to facilitate
  transactions, including block transactions, on behalf of customers. Any of these
  activities could adversely affect the level of the applicable underlying Index —
  directly or indirectly by affecting the price of the underlying futures or listed or
  over-the-counter options, futures contracts, swaps, or other derivative instruments
  relating to the applicable underlying Index, the VIX Index, the S&P 500® Index,


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       the component securities of the S&P 500® Index, or the underlying futures — and,
       therefore, the market value of your ETNs and the amount we will pay on your ETNs
       on the relevant Early Redemption Date, Acceleration Date or the Maturity Date.
       We may also issue, and we, our affiliates, or third parties with whom we transact
       may also issue or underwrite, other ETNs or financial or derivative instruments
       with returns linked to changes in the level of the applicable underlying Index or the
       underlying futures or listed or over-the-counter options, futures contracts, swaps,
       or other derivative instruments relating to the applicable underlying Index, the VIX
       Index, the S&P 500® Index, the component securities of the S&P 500® Index, or
       the underlying futures. By introducing competing products into the marketplace in
       this manner, we, our affiliates, or third parties with whom we transact could
       adversely affect the market value of your ETNs and the amount we will pay on your
       ETNs on the relevant Early Redemption Date, Acceleration Date or the Maturity
       Date.

       300.   The January Supplement also states:

       There may be conflicts of interest between you, us, the Redemption Agent, and the
       Calculation Agents

       ...

       As noted above, we, our affiliates, or third parties with whom we transact, including
       JHD, may engage in trading activities related to the applicable underlying Index,
       the VIX Index, the S&P 500® Index, the component securities of the S&P 500®
       Index, or the underlying futures or listed or over-the-counter options, futures
       contracts, swaps, or other instruments linked to the applicable underlying Index,
       certain exchange traded notes issued by Credit Suisse, the VIX Index, the S&P
       500® Index, the component securities of the S&P 500® Index, or the underlying
       futures. These trading activities may present a conflict between your interest in your
       ETNs and the interests we, our affiliates, or third parties with whom we transact,
       including JHD, will have in our or their proprietary accounts, in facilitating
       transactions, including block trades, for our or their customers and in accounts
       under our or their management. These trading activities, if they influence the level
       of the applicable underlying Index, could be adverse to your interests as a beneficial
       owner of your ETNs.

       301.   The January Supplement also states the following regarding XIV’s Intraday

Indicative Value:

       The “Intraday Indicative Value” for each series of ETNs is designed to
       approximate the economic value of such series of ETNs at a given time. It is
       calculated using the same formula as the Closing Indicative Value, except that
       instead of using the closing level of the applicable underlying Index, the calculation
       is based on the most recent intraday level of such Index at the particular time. The



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      Intraday Indicative Value of the ETNs will be calculated every 15 seconds on
      each Index Business Day during the period when a Market Disruption Event has
      not occurred or is not continuing and disseminated over the Consolidated Tape,
      or other major market data vendor.

      ...

      The value of each Index will be published by Bloomberg in real time and after the
      close of trading on each Index Business Day . . . The intraday level of each of the
      Indices is calculated in real time by S&P on each S&P 500 VIX Futures Business
      Day . . . applying real time prices of the relevant VIX futures contracts.

      ...

      Investors can compare the trading price of the ETNs (if such concurrent price is
      available) against the Intraday Indicative Value to determine whether the ETNs
      are trading in the secondary market at a premium or a discount to the economic
      value of the ETNs at any given time.

(Emphasis added).

      302.   The January Supplement further states:

      Daily rebalancing of the Indices may impact trading in the underlying futures
      contracts

      The daily rebalancing of the futures contracts underlying the Indices may cause the
      Issuer, our affiliates, or third parties with whom we transact to adjust their hedges
      accordingly. The trading activity associated with these hedging transactions will
      contribute to the trading volume of the underlying futures contracts and may
      adversely affect the market price of such underlying futures contracts and in turn
      the level of the applicable underlying Index.

(Emphasis added).

      303.   The January Supplement additionally states:

      Daily rebalancing of the leverage amount may impact trading in the
      underlying futures contracts

      The daily rebalancing of the leverage amount of each ETN back to its target may
      cause us, our affiliates, or third parties with whom we transact to adjust their hedges
      accordingly. The trading activity associated with these hedging transactions will
      contribute to the trading volume of the underlying futures and may adversely
      affect the market price of such underlying futures.

(Emphasis added).



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       304.   Moreover, the January Supplement states:

                 SUPPLEMENTAL USE OF PROCEEDS AND HEDGING

               We intend to use the net proceeds from this offering for our general
       corporate purposes, which may include the refinancing of our existing indebtedness
       outside Switzerland. We may also use some or all of the net proceeds from this
       offering to hedge our obligations under the ETNs of the applicable series.

               One or more of our affiliates before and following the issuance of the ETNs
       of any series may acquire or dispose of the futures contracts underlying the
       applicable Index, or listed or over-the-counter options contracts in, or other
       derivatives or synthetic instruments related to, the applicable underlying Index or
       the S&P 500® Index or the VIX Index to hedge our obligations under the ETNs of
       such series. In the course of pursuing such a hedging strategy, the price at which
       such positions may be acquired or disposed of may be a factor in determining the
       levels of the applicable underlying Index. Although we and our affiliates have no
       reason to believe that our or their hedging activities will have a material impact
       on the level of the applicable underlying Index, there can be no assurance that
       the level of the applicable underlying Index will not be affected.

(Emphasis added).

       305.   The January Supplement statements above in paragraphs 229 – 304 were materially

misleading, contained untrue statements of fact, and omitted to state facts necessary to make the

January Supplement not misleading, and omitted required material facts, including as follows:

                    a. XIV was designed to fail during the next VIX spike, because it was too large
                       for the underlying VIX futures market upon which its value was based;

                    b. There were thus liquidity issues during end-of-day hedging after a VIX
                       spike;

                    c. Credit Suisse planned to profit from this hedging activity in VIX futures
                       and other instruments by creating a liquidity squeeze in the VIX futures
                       market that would inflate the value of VIX futures, thereby wiping out the
                       value of XIV and triggering an Acceleration Event;

                    d. The foregoing placed Credit Suisse’s interests directly adverse to those of
                       XIV investors;

                    e. Credit Suisse’s hedging activities would impact VIX futures prices and the
                       SPVXSP, and would materially impact the SPVXSP;

                    f. The Calculation Agents disseminated a false Intraday Indicative Value
                       between 4:09:48 p.m. and 5:09:04 p.m. on February 5, 2018, rendering the


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                        previous statements about the accuracy of the Intraday Indicative Value
                        false and misleading.

          C.     Claims For Relief Under The Securities Act

                                         COUNT SEVEN
                           Violation of Section 11 of the Securities Act
                             (Against the Credit Suisse Defendants)

          306.   Lead Plaintiffs repeat and reallege each and every allegation in Section VI above

as if fully set forth herein. For the purposes of this claim, Lead Plaintiffs assert only strict liability

and negligence claims and expressly disclaim any claim of fraud or intentional misconduct.

          307.   This claim is brought against Credit Suisse and the Individual Defendants on behalf

of Lead Plaintiffs and other members of the Securities Act Class who, during the Class Period,

purchased or acquired XIV notes pursuant and/or traceable to the January Supplement (and the

offering documents incorporated by reference therein), and were damaged by the acts alleged

herein.

          308.   As discussed in paragraph 196, on January 29, 2018, Credit Suisse offered

16,275,000 XIV notes, and sold to investors at least 4.2 million of those notes. Credit Suisse was

the issuer of the notes pursuant to the Registration Statement within the meaning of Section 11 of

the Securities Act.

          309.   The Individual Defendants each signed the Registration Statement as a senior

officer of Credit Suisse within the meaning of Section 11 of the Securities Act.

          310.   The notes were issued and sold pursuant to the Registration Statement (which

incorporated by reference the remaining Offering Documents). All purchases of the registered

common stock after the issuance of the Registration Statement are traceable to the Registration

Statement.




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       311.    The January Supplement contained untrue statements of material fact and omitted

to state material facts required to be stated therein or necessary to make the statements therein not

misleading. The facts misstated and omitted would have been material to a reasonable person

reviewing the January Supplement.

       312.    As the issuer of the XIV notes, Credit Suisse is strictly liable for the untrue

statements of material fact. The Individual Defendants owed to Lead Plaintiffs and the Securities

Act Class the duty to make a reasonable and diligent investigation of the statements contained in

the January Supplement, to ensure that the statements contained or incorporated by reference

therein were true, and that there was no omission to state a material fact required to be stated in

order to make the statements contained therein not misleading.           Neither of the Individual

Defendants made a reasonable investigation or possessed reasonable grounds for the belief that the

statements contained in the January Supplement were accurate and complete in all material

respects.    Had they exercised reasonable care, they would have known of the material

misstatements and omissions alleged herein.

       313.    Lead Plaintiffs and members of the Securities Act Class purchased XIV notes

issued in, or traceable to, the January Supplement (and the remaining offering documents

incorporated by reference therein) and were damaged thereby.

       314.    Lead Plaintiffs and members of the Securities Act Class did not know, nor in the

exercise of reasonable diligence could they have known, of the untrue statements of material facts

or omissions of material facts in the offering documents when they purchased or acquired their

XIV notes.

       315.    This claim is brought within one year after the discovery of the untrue statements

and omissions, and within three years after the issuance of the January Supplement.




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        316.      By reason of the foregoing, Credit Suisse and the Individual Defendants are liable

to Lead Plaintiffs and the members of the Securities Act Class for violations of Section 11 of the

Securities Act.

                                          COUNT EIGHT
                            Violation of Section 15 of the Securities Act
                          (Against the Individual Defendants and Janus)

        317.      Lead Plaintiffs repeat and reallege each and every allegation in Section VI above

as if fully set forth herein. For the purposes of this claim, Lead Plaintiffs assert only strict liability

and negligence claims and expressly disclaim any claim of fraud or intentional misconduct.

        318.      This claim is brought pursuant to Section 15 of the Securities Act against the

Individual Defendants and Janus on behalf of Lead Plaintiffs and other members of the Securities

Act Class who, during the Class Period, purchased or acquired XIV notes pursuant and/or traceable

to the January Supplement (and the Offering Documents incorporated by reference therein), and

were damaged by the acts alleged herein.

        319.      As alleged herein, Credit Suisse and the Individual Defendants violated Section 11

of the Securities Act by issuing the January Supplement, which included materially untrue

statements of fact and omitted to state material facts required to be stated therein or necessary to

make the statements therein not misleading. The Individual Defendants were controlling persons

of Credit Suisse when the January Supplement was filed and became effective due to their senior

executive positions therewith; their direct involvement it Credit Suisse’s day-to-day operations;

and their participation in, and preparation of, the Offering Documents. As alleged herein, Janus

was the creator of XIV and an integral participant in the operations and marketing of XIV when

the January Supplement was filed and became effective.




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                 320.   By virtue of their exercise of control over Credit Suisse, the Individual Defendants

        had the power to influence and control, and did influence and control, directly or indirectly, the

        decision-making of Credit Suisse, including the content of its public statements and of the January

        Supplement. By virtue of its creation of XIV and its integral role in the operations and marketing

        of XIV, Janus had the power to influence and control, and did influence and control, directly or

        indirectly, the decision-making of Credit Suisse, including the content of the January Statement.

                 321.   The Individual Defendants and Janus did not make a reasonable investigation or

        possess reasonable grounds for the belief that the January Supplement was accurate and complete

        in all material respects. Had they exercised reasonable care, they would have known of the

        material misstatements and omissions alleged herein.

                 322.   This claim is brought within one year after the discovery of the untrue statements

        and omissions, and within three years after the issuance of the January Supplement.

                 323.   By reason of the foregoing, the Individual Defendants and Janus are liable to Lead

        Plaintiffs and the members of the Securities Act Class for violations of Section 15 of the Securities

        Act.

VII.             JURY TRIAL DEMAND

                 324.   Pursuant to Federal Rule of Civil Procedure 38(b), Lead Plaintiffs demand a trial

        by jury of all of the claims asserted in this Amended Complaint so triable.

VIII.            PRAYER FOR RELIEF

                 WHEREFORE, Lead Plaintiffs pray that the Court enter judgment on their behalf and on

        behalf of the Classes herein, adjudging and decreeing that:

                 A.     This action may proceed as a class action, with Lead Plaintiffs as the designated

        Class representatives and Lead Plaintiffs’ counsel designated as Class Counsel;




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        B.      Lead Plaintiffs and the members of the Classes recover damages sustained by them,

as provided by law, and that a judgment in favor of Lead Plaintiffs and the Classes be entered

against the Defendants, jointly and severally, in an amount permitted pursuant to such law;

        C.      Lead Plaintiffs and members of the Classes be awarded pre-judgment and post-

judgment interest, and that such interest be awarded at the highest legal rate from and after the date

of service of the initial complaint in this action;

        D.      Lead Plaintiffs and members of the Classes recover their costs of this suit, including

reasonable attorneys’ fees as provided by law; and

        E.      Lead Plaintiffs and members of the Classes receive such other and further relief as

may be just and proper.

 Dated: August 20, 2018                               Respectfully submitted,

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